Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 1 of 89




            Exhibit 357
     Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 2 of 89
                      File 134 Vandersteel and Byrne
                            December 22, 2020                          ·

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·7· · · · · · · ·FILE 134
·8· ·ANN VANDERSTEEL AND PATRICK BYRNE
·9· · · · · · · 12-22-2020
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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 3 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                          2

·1· · · · · · ANN VANDERSTEEL:· And good evening, everybody.
·2· This is a special edition, actually going to be a
·3· two-hour edition of Steel Truth tonight.· We have our
·4· regularly scheduled program at 9:00 p.m. but I am
·5· bringing some very important information forward that is
·6· breaking, and it's information that we together, MAGA,
·7· needs to work together and support our president at this
·8· very crucial time in this election process.· I have a
·9· special guest this evening joining me first, Patrick
10· Byrne, who has joined us previously on this show and
11· broke in the Hilary Clinton story that has gone viral.
12· · · · · · Patrick, it's great to be with you again
13· this evening.· You're still in DC, I suppose?
14· · · · · · PATRICK BYRNE:· I am.· I am still in DC, and
15· the drapes behind me, the careful watchers on the
16· internet have figured out where I am.· This is a Trump
17· hotel that implies no endorsement from Donald Trump.· It
18· just happens to be very physically safe for myself and
19· my hacker colleagues to do their WORK.
20· · · · · · ANN VANDERSTEEL:· And you guys are doing some
21· incredibly amazing work.· You know, at that end of the
22· day, Patrick, what this is going to prove is that most
23· of America stands with this president, but it's really
24· an elite squad that is, you know, putting their money
25· where their mouth is.· And I think before we get into


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 4 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                              3

·1· the meat of what we're going to talk about, I have to
·2· ask you something because this is a question that's
·3· burned on my mind for awhile.· I said for a long time
·4· where are the billionaires to start a really good new
·5· media company, and why is it just yourself that's
·6· putting a lot of money behind this effort to prove the
·7· election fraud?· Where are all the other rich
·8· conservatives that say all these grandiose things that
·9· support the president?· Why aren't they teaming up with
10· you?· Why are you seemingly being this one man armed
11· paper hanger with your elite squad of hackers?
12· · · · · · PATRICK BYRNE:· Well, what's that Shakespeare
13· line about fair weather soldiers.· I don't know.                I
14· don't know.· I know why I'm here.· I did a Ph.D. in what
15· was essentially the intellectual history of the U.S.
16· Constitution.· That's my religion.· This is my jihad.
17· Why I got rich is to fight this battle.· So I don't know
18· what drove them, but this is why I got rich, to fight
19· this.
20· · · · · · ANN VANDERSTEEL:· Well, Patrick, it is super
21· appreciated by millions of Americans that are just, you
22· know, we're literally, we're hanging on the balance
23· here, our the entire country, the republic, our free and
24· everything that we -- our founding fathers fought for.
25· · · · · · This is a modern day revolution.· It feels


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 5 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                          4

·1· like we're on the precipice of a powder keg sort of a
·2· next step, but nobody wants that.· You know, the MAGA
·3· movement is very peaceful and we, you know, we want
·4· to stand by this president and protest this
·5· peacefully, but we need to get to solutions.· So talk
·6· to us about the meeting you had on Friday in the oval
·7· office, a lot misinformation coming out about it
·8· from Maggie Haberman.· Tell us about that explosive
·9· meeting because you were there.
10· · · · · · PATRICK BYRNE:· Yeah, and let me explain.
11· There's an etiquette to visiting the White House and to
12· being in the oval office and what stays there is
13· supposed to stay there, and you don't take pictures of
14· yourself and post it, and I absolutely didn't even occur
15· to me that I was going to violate that.· Twelve hours
16· after I spent four and a half hours in the oval office
17· and up in the residence the general counsel leaked to
18· his buddy, Maggie Haberman of the New York Times, a
19· distorted version of the story.· I thought you know
20· what, if he can leak a lie, I'm going to go public and
21· tell the truth.· Fuck him.· They are trying to take
22· down -- pardon me.· I shouldn't talk.· I know you're all
23· religious and such.
24· · · · · · ANN VANDERSTEEL:· It's all right.
25· · · · · · PATRICK BYRNE:· I'm a ticked off Irishman.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 6 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                          5

·1· What a weasel.· What kind of weasel.· I can't stand this
·2· town.· Weasels to journalists.
·3· · · · · · I once worked for a guy on Wall Street.· He
·4· said what we like about you, Patrick, you're not a
·5· backstabber.· You come through the front door with an
·6· axe.· So if the guys who participate with me are
·7· going to leak lies, I'm going to come and tell the
·8· truth.
·9· · · · · · The truth is we got a four and a half
10· hour -- it was one meeting, but it moved from the
11· oval office to the cabinet up to the residence.· In
12· attendance were General Flynn, Sidney Powell, another
13· female lawyer who works for Sidney.· I don't know if
14· she wants her name used, so I'll leave it out, as
15· well as the three legal staff on the White House.
16· Patrick Cipollone is the general counsel.· I can tell
17· you, America, they are absolute lying.· Flynn and I
18· have never seen anything like this.· We after about
19· 15, 20 starting saying this is surreal.· For one
20· thing, they are incredibly disrespectful with the
21· president, incredibly, and by doing that they're
22· disrespecting America.
23· · · · · · Second thing you need to know --
24· · · · · · ANN VANDERSTEEL:· That's right.
25· · · · · · PATRICK BYRNE:· -- it's a flat lie there was


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 7 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                          6

·1· any discussion of marshall law or even the Insurrection
·2· Act.· All of that Maggie Haberman got from her unnamed
·3· source is a lie.· You have a named source who was in the
·4· room who is telling you that's all a fabrication.· Not
·5· one word of that was discussed.
·6· · · · · · Really, I think Cipollone put it out as a
·7· prophylactic to get that kind of story out there.
·8· These madmen were out there talking about this, and
·9· that way it would keep -- as a prophylactic and to
10· discredit.
11· · · · · · Third, isn't it interesting that though I
12· was in for the entire meeting and heard every word,
13· my name was completely carved out, no leak that I was
14· in.· What do you make of that?
15· · · · · · ANN VANDERSTEEL:· That's a very interesting
16· point because when they're leaving somebody out who is
17· single-handedly funding an operation to go out, like
18· obviously the Dominion voting machines full of fraud,
19· when you're out there with hackers that are good guys
20· that are going into and finding all the clean cut
21· evidence of voter fraud, vote switching, vote deleting,
22· vote moving around, whatever you can do with a machine
23· they did it in order to try and steal this election.
24· It's very telling that they would leave you out.· It's
25· sort of like lying by omission, right?


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 8 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                          7

·1· · · · · · PATRICK BYRNE:· Yeah.· I think that they know
·2· how much I know, and they don't want any attention
·3· brought to me.· So, for example, as I've revealed
·4· before, I bribed Hilary Clinton $18 million on -- well,
·5· I caused Hilary Clinton to be offered and take a bribe
·6· in mid July of 2016 by the FBI.· The FBI had me bribe,
·7· had me facilitate a bribe for Hilary Clinton which I
·8· accomplished.· They also told me she had already taken
·9· one bribe for $20 million, and I got an $18 million
10· bribe in her face and she took it, and I've been shown
11· the bank records that show that she took it, so they
12· don't want any attention being brought to me.· That's
13· probably why they omitted my name when they leaked the
14· story.
15· · · · · · I'll tell you a bombshell, something that's
16· only come in tonight.· I'm only going to tell you a
17· piece of it, something that's been finalized.· Well,
18· so many things.· First, people have to understand
19· this is like a snake eating an elephant, and the
20· elephant is working through the digestive system, and
21· what the public is seeing is what's coming out the
22· back end of the snake.· We have so much information,
23· there's so much information and affidavits and
24· everything we have acquired over the last five weeks,
25· but it's always the lawyers are about one or two


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 9 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                          8

·1· weeks behind our digestion and turning it into
·2· documents and turning it into filings.· So what you
·3· see when you read the filings from Sidney Powell and
·4· such is really our state of knowledge about three or
·5· four weeks ago.· And even there, her filings for the
·6· Supreme Court like the one on Michigan contain all
·7· kinds of very damning affidavits and information.
·8· But at this point we're three weeks ahead of what's
·9· in there.
10· · · · · · Here's one key thing.· I'm not going to
11· tell you the state or much details about this, but I
12· can tell you a Microsoft certified security guy has
13· given us the photographs and the hard documentary
14· evidence of a Dominion vote counting machine,
15· tabulation machine in a swing state that has a -- I
16· mean, we have the photographs and everything, has a
17· wireless card inside it, and the forensics show that
18· it connected to a wireless network in the thermostat.
19· In the thermostat of the room there was a wireless
20· network that connected into this machine, and when we
21· traced back the IP and from which it was accessed on
22· election night and during the vote tabulation over
23· the next 24 hours, there was access through a
24· thermostat wireless into the wireless card on the
25· vote counting machine, and the IPs reveal when you


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 10 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           9

·1· track them back and strip away the noise, it was
·2· somebody in a city in China.· And the actual address
·3· of that IP is connected to a company -- is the
·4· address of a corporation in China whose name has
·5· already come up in relation to some dirty dealings
·6· with some politicians of that state in America.· And
·7· this is by no means -- we already have had -- I
·8· should be bringing this in the next room.· I've got a
·9· binder this thick of -- I'm sorry.· Sidney?
10· · · · · · Anyway, I was going to have this binder
11· brought in.· I've got a binder this thick of hard
12· documentary evidence of foreign access and
13· involvement on this equipment.· As a matter of fact,
14· people are forgetting this, on November 3rd and on
15· October 30th the FBI and I think it was CISA at DHS
16· put out a statement saying that Iran has interjected
17· itself into our election equipment.· They were saying
18· that three days before the election and on the day of
19· the election.· They put out special warnings that
20· Iran was electronically coming in and interfering in
21· our election.· Everyone seems to forget that.
22· · · · · · ANN VANDERSTEEL:· Right.
23· · · · · · PATRICK BYRNE:· You know, one aspect of the
24· proof is the FBI itself published this on November 3rd
25· that it was happening that day.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 11 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           10

·1· · · · · · ANN VANDERSTEEL:· Right.
·2· · · · · · PATRICK BYRNE:· So there is no question, but
·3· we have so many examples of this.· Here's the binder.
·4· We have.· Oh, thank you so much.· Here's the binder we
·5· have.· Here's the Iranian advance persistent threat.
·6· You should have your people, your viewers Google this.
·7· Iranian advance persistent threat actor identified.
·8· This is coming from the CISA group and the DHS, and it
·9· is dated October 30th, and there's more from the FBI on
10· November 3rd itself.· I may be screwing up a date here.
11· Maybe the FBI was a couple days before.· But the point
12· is this whole binder is filed with both public
13· documentation as well as private affidavits that
14· document this up the wazoo.· This is entire binder only
15· concerns foreign involve in our computers, in our voting
16· systems during this election.· This entire binder, and
17· some of them are affidavits, and some of them are
18· government statements that were coming out on the day of
19· the election that this is, in fact, happening.· So there
20· is no question when the main stream media says where's
21· the evidence, you know, tell them to go argue with the
22· FBI.
23· · · · · · ANN VANDERSTEEL:· Yeah.
24· · · · · · PATRICK BYRNE:· Tell them to go argue with
25· CISA because they're the ones who were saying it.· But


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 12 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           11

·1· I'm telling you, this example I just gave you, I'm not
·2· telling you the state or anymore details, we have the
·3· hard soup to nuts documented photographs and IPs and
·4· everything there was access from a Chinese company in --
·5· well, I won't tell you the city in China, from a company
·6· whose name is already at the periphery of this mischief
·7· that they were accessing through the internet through a
·8· hidden port in a thermostat in the room getting on the
·9· Dominion machine that was being used for vote counting
10· in the middle of the vote counting in a swing state, so
11· there's no question at this point.
12· · · · · · You know it's silly.· That set of pictures
13· and IPs itself documents everything we need to
14· document.· We don't need a thousands pages, but we
15· have a thousand pages and this is (inaudible).
16· · · · · · ANN VANDERSTEEL:· Did the president know this?
17· Is he aware of this because if it's his own FBI, if CISA
18· knows this, I mean, where's Christopher Rant screaming
19· from the roof tops?· I know that we've turned over head
20· count at CISA right now because of course they lied
21· about their interference in the elections.· Who in
22· administration is aware of this?· This is damning
23· information.· It's bombshell.
24· · · · · · PATRICK BYRNE:· Since Friday night a curtain,
25· President Trump has been buried in lead.· I was in the


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 13 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           12

·1· room when President Trump, so at one point Pat Cipollone
·2· in one of his hissy yelled at the president, stood up
·3· and was yelling at the president.· I almost decked this
·4· guy.· He's a rude little son of a bitch and Flynn stood
·5· up.· I mean Flynn is a real gentleman, as gentlemanly as
·6· it gets, and he even took to his feet at one point at
·7· three lawyers who were screaming, and then I'm standing
·8· shoulder to shoulder with Flynn and facing off with
·9· these guys.· There was almost a fist fight.· President
10· Trump said later there's probably not been a meeting
11· like this in 200 years in the oval office.
12· · · · · · I can tell you I saw president Trump --
13· Cipollone, the general counsel, said you don't even
14· need me.· You can just do this verbally.· If you
15· really want to appoint Sidney Powell special counsel,
16· you can just say it.· And after 15 more minutes of
17· arguing President Trump said you know what, Cipollone
18· said you don't even need a pencil and paper if you
19· want to do this.· But if you do this and that, and 20
20· minutes later Trump said you know what, I've made my
21· decision.· Sidney Powell you're appointed White House
22· special counsel.· And somebody objected, well, she
23· needs a clearance, and that's going to take X many
24· and this and that.· And President Trump said you know
25· what, I have the ability to give the clearance with


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 14 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           13

·1· my word.· I hereby give you a TS SCI clearance.· This
·2· is done, this decision (inaudible).
·3· · · · · · ANN VANDERSTEEL:· Wow.
·4· · · · · · PATRICK BYRNE:· The next day Sidney Powell,
·5· this was in front of Mark Meadows who's on the phone.
·6· This was in front of the legal staff, and it was front
·7· of myself, Flynn Sidney, General Flynn and the other
·8· lawyer whose name for her own security I don't want to
·9· use.· And the next day Sidney Powell called Mark Meadows
10· and said now that I'm White House special counsel, I'm
11· going to need an office at the White House, and Mark
12· Meadows said oh, Sidney, I don't know if we can really
13· do that.· And Sidney said well, okay.· I at least need a
14· pass so I can come and go, and Meadows said I don't
15· think we can really do that either.· So they are
16· directly refusing to execute an order from the
17· president.
18· · · · · · Yesterday or today -- yeah, today is
19· Tuesday.· On Monday Sidney Powell went to go over to
20· the White House and was refused.· Actually, I was
21· with her Sunday night, and she was refused
22· admittance.· I mean, we got into the White House but
23· was refused -- they will not inform him even though
24· he has directly said -- I heard him say that they do
25· not have to worry about access, do not have to worry


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 15 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           14

·1· about access, they have direct access.· His people
·2· are refusing to execute his orders.· That's how crazy
·3· it's gotten.· They are refusing to execute his
·4· orders.
·5· · · · · · ANN VANDERSTEEL:· Wow.
·6· · · · · · PATRICK BYRNE:· And today the same thing is
·7· going on.· And since then, everyone we know has had like
·8· a lead wall come down around him.· His own staff, Mark
·9· Meadows and Pat Cipollone have taken control of the oval
10· office, and they are refusing to follow President
11· Trump's orders.· It's --
12· · · · · · ANN VANDERSTEEL:· Okay.
13· · · · · · PATRICK BYRNE:· ·-- this weasel on the spot
14· for the way he talks.· If you'd ever talked -- it was
15· all I could do not to slip the guy, he was so rude to
16· the president.
17· · · · · · ANN VANDERSTEEL:· This is explosive.· I just
18· want to stop for a second and just kind of recapture
19· here because Maggie Haberman has done a real disservice
20· to the country putting out information that's
21· categorically and patently false, and you are here
22· dispelling exactly what went on.· I had the opportunity
23· to speak to General Flynn yesterday, and he sort of
24· recaptured a little bit of this.· But I was talking to
25· General Flynn in terms of this is President's Trump


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 16 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           15

·1· Abraham Lincoln moment right now.· I mean, there's so
·2· much evidence of fraud thanks to the work you and your
·3· team have done, Sidney Powell, Rudy, Jenna, the whole
·4· team has worked really quickly.· And, of course, the
·5· army of digital solders that, you know, General Flynn
·6· patented and coined the name for, right.· There has been
·7· more information revealed by the army of anons out there
·8· than what you see going on in the oval office with the
·9· exemption of you, Sidney and General Flynn in that
10· meeting on Friday.
11· · · · · · Here's then the thing, Patrick.· Are these
12· people all about self preservation at this point
13· because they think there's no way for the president
14· to win and they're just kind of throwing in the
15· towel?· What are they doing here and are they totally
16· anti-Trumper?
17· · · · · · PATRICK BYRNE:· They are lying to him about
18· his authorities and powers.· I'm a better lawyer than
19· these guys are because, I mean, it was crazy.· They said
20· no, no, no, you can't do that.· And Sidney would say
21· well, actually, he can.· Look at this.· He's already
22· signed this and there's already this law.· He absolutely
23· has the power to do that.· And they'd be like oh, okay,
24· well, okay, maybe, but they were perpetually in the mode
25· of no, no, no, no, to the point that they were saying no


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 17 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           16

·1· without reasons.· They were saying no and then caucusing
·2· with each other to try to figure out what the reason is
·3· for the no, but they're just in the mode of no.
·4· · · · · · I have talked to, in the last two months
·5· I've met a lot of people in this administration, and
·6· I can tell you I am being told in the White House the
·7· messages going out from Pat Cipollone and the legal
·8· team as well as Mark Meadows, just get the president
·9· to concede.· We just want to get him into transition
10· mode.· Meanwhile, on the same day I'm being told
11· that, they are telling that to people beneath them.
12· I'm in the oval office with them and they're telling
13· the president oh, no.· We're doing our best, but we
14· just don't see a way.· It's disgusting.· Flynn and
15· I -- so yeah, it's the craziest thing I've ever seen
16· in my life.
17· · · · · · ANN VANDERSTEEL:· This is so discouraging.
18· This is how out of touch Washington DC is with the rest
19· of us out here that are fighting and scrapping.
20· · · · · · PATRICK BYRNE:· Do you know why they're doing
21· it?· Because the signal has gone out, if you're good
22· boys and you get the president out on January 20th,
23· there is a million and a half dollar -- in fact,
24· President Trump said to one of the people there, one of
25· the three lawyers, it was his last night and he was


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                              866-339-2608                                YVer1f
  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 18 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           17

·1· leaving that night.· He stayed until midnight with us.
·2· President Trump said do you know why this guy is
·3· leaving?· He just got an offer for ten times the salary
·4· from another law firm in DC.
·5· · · · · · What's happened is all these people know
·6· that if you get the president out on January 20
·7· there's jobs waiting for them at law firms and
·8· lobbyists for million dollars and up jobs.· But if
·9· they don't get him out, and if they do, they're going
10· to be invited to the right socialite parties in New
11· York.· hey, I've been to those socialite a parties.
12· You aren't missing anything.· You know, it's slumming
13· as far as I'm concerned.· Hang out with a better
14· class of people than hanging around that group in New
15· York.
16· · · · · · so they're being tempted with offers like
17· that, and they're being told, I'm told by people
18· involved, they're being told if you don't get him out
19· on January 20th all that goes away.· So these people
20· are privately being offered massive jobs if they just
21· get President Trump out.
22· · · · · · ANN VANDERSTEEL:· Well, you know what, I'm
23· proud to say President Trump vetoed that nasty behemoth
24· of disgusting pork barrel spending bill.· He vetoed it
25· tonight, and he rightfully should have because, you


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 19 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           18

·1· know, how insulting.· They're up there getting their fat
·2· cat jobs and they're going to give us six hundred bucks.
·3· Seriously, this is what they think of America?· We're
·4· here to serve them.· They've forgotten, Patrick, that
·5· they are supposed to be serving us.
·6· · · · · · I'm going to ask something a little bit out
·7· of the ordinary here.· Is Sidney Powell around?
·8· Maybe the two of you could sit together.· I wanted to
·9· ask some questions that maybe as an attorney that she
10· could also answer live if she's open to that.· It has
11· to do with some statutes and I know --
12· · · · · · PATRICK BYRNE:· I'm not going to do that.
13· · · · · · ANN VANDERSTEEL:· You're not going to ask her?
14· Okay.
15· · · · · · PATRICK BYRNE:· Sidney, do you want to come
16· join me for a minute or not?· She heard me.· If she
17· wants to, she will.· If she doesn't -- you've got too
18· much going on.· She has a lot going on.
19· · · · · · ANN VANDERSTEEL:· I know, and I appreciate the
20· time that you're taking right now to help educate
21· America because America is getting it from every which
22· way.· The news is flying around, and frankly more and
23· more people are coming to alternative media thanks to
24· people like yourself that are promoting it because they
25· know they're going to get straight talk here.· We're not


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 20 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           19

·1· covering it up.· We're not paid by somebody else.
·2· · · · · · PATRICK BYRNE:· I had a prominent mainstream
·3· journalist text me tonight and say, you know, why did
·4· you come on my show and it will give you more
·5· credibility to be on my show hand.· I texted him back,
·6· fella, you're legacy media.· Don't worry about my
·7· credibility, worry about your own credibility.
·8· · · · · · ANN VANDERSTEEL:· God bless you.
·9· · · · · · PATRICK BYRNE:· (Inaudible)· They're so
10· clearly in cover up mode.· I'm keeping the big bomb.
11· I'm a not dropping the big bomb.· I've got a bigger bomb
12· and then a mother of all bombs to drop when the time is
13· right, and I'll offer here, I will do it on live
14· broadcast on a television.· I'll even throw this out.
15· This guy says I will not have you on live.· He will not
16· have me on live.· So I will throw here a challenge to
17· any of the major networks.· You will win a Pulitzer if
18· you will have me on and I will tell you a big secret.
19· Nobody will do it.· This cone of silence has come over
20· me.· So now they're reaching out.· They want me to come
21· on, but they always will say live, they save live to
22· tape.· They will not have me on live, and I'm turning
23· them down.· I'm not going to did live to tape because
24· they will edit things to suit their needs.· But I will
25· do a live interview with any -- but in the meantime you


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 21 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           20

·1· know what, the way I feel, who's this guy to tell me my
·2· credibility would go up if I was on X and Y mainstream
·3· companies.· They're the ones that need to worry about
·4· their credibility last I checked.· Something like
·5· 18 percent of America now believe the press, so I'll go
·6· alternative.
·7· · · · · · This is this war of the flea against the
·8· elephant, the ants against the elephant.· I'm just
·9· doing alternative press, and when the smoke clears
10· you folks are the new mainstream.
11· · · · · · ANN VANDERSTEEL:· That's right.· We are the
12· new mainstream media.· The last interview I did with
13· you, Patrick, it ended up on so many other people's You
14· Tube channels because I don't lock my stuff.· I let
15· people take it and run with it.· It was dissected and
16· just tweeted out all over the place.· It got millions of
17· hits, and that's what got them all upset and we're going
18· to be back --
19· · · · · · (Multiple voices)
20· · · · · · ANN VANDERSTEEL:· Pardon me.· I will let you
21· talk.
22· · · · · · (Multiple voices.)
23· · · · · · PATRICK BYRNE:· Nature abhors a vacuum.
24· · · · · · ANN VANDERSTEEL:· That's right.
25· · · · · · PATRICK BYRNE:· I helped build Fox Business in


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 22 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           21

·1· the sense that in the early days when no one watched
·2· them I told them, because I detest CNBC.· Everything
·3· people are now saying about the mainstream media I saw
·4· on CNBC by '05, About I used to go on CNBC all the time.
·5· I stopped, and I just did Fox News for 10, 12 years and
·6· helped them all I could.· I was one of their go to
·7· guests.· But to see what Fox has done with its brand,
·8· they're down 50 percent of their viewership, and you
·9· know what, they deserve it for the role they played in
10· this.· They've totally -- they deserve it.· But to see
11· New Max and One America News, I think one has quintupled
12· and one is up ten times, and I'm sure your viewership is
13· way up.· Yeah, I'll just stick with this.· They need to
14· worry about their credibility as far as I can tell.
15· · · · · · ANN VANDERSTEEL:· Amen.· They absolutely do.
16· So the March for Trump is coming up, and one of the
17· things that General Flynn and I spoke yesterday is about
18· getting people to turn out on January 6th for the big
19· march for Trump.· We've been there the last couple.
20· We'll be back again for this one.
21· · · · · · I would really hope, and I'm going to ask
22· you, what encouragement can you offer the people of
23· America to come to this march for Trump because we
24· want to get at least ten million people in DC.· This
25· is a big day.· This is when the congress is going to


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 23 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           22

·1· be looking at the slate of electors and deciding
·2· whether they're going to accept the electoral
·3· college, and hopefully between now and then we're
·4· going to have a guest on here that I would like you
·5· to listen to, Patrick, and talk with because he's
·6· going to present about the other Trump card, which is
·7· called a Pence card, which is a very unique solution
·8· to how the vice president can play a very pivotal
·9· role tomorrow on this slate of electors because he
10· doesn't really have to accept what is being put
11· before him, so I'm going to call him and get him on
12· speaker, and we're going to have a little round table
13· here.· But the march for Trump, what can you suggest
14· America to do?· If they can't make it to DC, what
15· else can they do?
16· · · · · · PATRICK BYRNE:· Do it in your capital.
17· January 6th of this year.· Listen, this is my attitude.
18· I'm a small L libertarian.· I do not want any violence,
19· but we cannot bend a knee to this.· Over the last decade
20· or two we've been asked to bend a knee to assaults on
21· freedom of religion, First Amendment privileges like
22· free speech, innocent until proven guilty, even freedom
23· of assembly given that the police now let goons attack
24· us, freedom of assembly.
25· · · · · · If we bend a knee, the most atomic concept


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 24 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           23

·1· of our world, of our political tradition is consent
·2· of the governed as determined through elections that
·3· are free, fair and transparent.· If you bend a knee
·4· on this, America, you'll never get another chance.
·5· · · · · · ANN VANDERSTEEL:· That's right.
·6· · · · · · PATRICK BYRNE:· I lived in communist China, so
·7· you have to -- January 6th, congress meets I think 1
·8· p.m.· We have to be out there certainly -- I think
·9· January 4th, 5th, and 6th.· Make believe you're camping
10· out on a campground on the mall.· Do it.· If you can't
11· make it to Washington DC, doing it at your local state
12· capital.· We have to show these politicians we're the
13· principal, they're the agent.· What that means is when
14· you hire a plumber or when you hire a lawyer, you're the
15· principal, he's the agent of the principal.· He does
16· what the principal -- he serves the principal.· He's got
17· a fiduciary duty or other kinds of duties to serve the
18· principal.· And when it comes to our republic, we are
19· the principal and they are our agent.· They're just some
20· people we hired.· We vote for them and we hire them and
21· give them the paycheck to do our will.· If we cross this
22· barrier where they get to get away, where the goons get
23· to get away with a rigged election, they are flipping it
24· and they become the principal and we're the agent.
25· · · · · · ANN VANDERSTEEL:· That's right.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 25 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           24

·1· · · · · · PATRICK BYRNE:· And I've listed in Saudi.
·2· Most of the Saudis on earth are like that.· It's the
·3· difference between America and everything else.
·4· · · · · · ANN VANDERSTEEL:· That's right.
·5· · · · · · PATRICK BYRNE:· Americans don't necessarily
·6· understand the step they're taking if they turn a blind
·7· eye to this.· So under no circumstance we can accept
·8· this.· And the way to do it -- I'm asking people to be
·9· coming by the 5th and even the 4th and do not -- we're
10· citizens too.
11· · · · · · ANN VANDERSTEEL:· That's right.
12· · · · · · PATRICK BYRNE:· And the First Amendment tells
13· us we assemble.· And if the goons show up and the police
14· do not protect us, it is time we practice the right as
15· John Lock, our intellectual -- the guy who wrote the
16· book that all of our founding fathers read, and the
17· Constitution was based on having John Lock, an English
18· philosopher, and the most fundamental right you have is
19· self-defense, self-defense.· Every animal, a squirrel
20· has the right to self-defense, let alone a free man.
21· · · · · · ANN VANDERSTEEL:· That's right.
22· · · · · · PATRICK BYRNE:· Stop putting up with -- the
23· police have to protect us or we protect ourselves.· Now,
24· that is to say we never want to be like the other guys.
25· We always want to be a couple steps better.· We want to


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 26 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           25

·1· maintain the moral high ground, but under no
·2· circumstance can we accept a transparently rigged
·3· election.· So be here January 6th.· By January 6th you
·4· should be protesting like hell either in your state
·5· capital or in Washington DC.· It's all going to come
·6· down to this, and I think people should start gathering
·7· on the 4th and the 5th and make this quite a Woodstock
·8· of freedom.· It will go down in history.
·9· · · · · · ANN VANDERSTEEL:· We're going to be there.
10· We're going to be there for all of it through the
11· inauguration.· I'm not leaving until we see President
12· Trump reseated.
13· · · · · · Listen, I have Ivan Raiklin on the phone.
14· If Producer Liz can put up this graphic for the
15· audience and also for Patrick Byrne to see.· Ivan,
16· I'm going to put you on speaker right now.
17· Unfortunately, Ivan, you're not going to be able to
18· hear Patrick, but I'd like you to explain to
19· everybody about what you and another gentleman, who
20· happens to be a patent attorney, have come up with as
21· what you call the Pence card for Operation Pence
22· Card, December 23rd, which would be tomorrow.· It's a
23· way forward that you all think that Vice President
24· Pence can actually stop this slate of electors
25· legally, legally.· can you walk us through what we


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 27 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           26

·1· have on the screens.
·2· · · · · · IVAN RAIKLIN:· Yeah, absolutely.· So
·3· essentially, like you mentioned, I was discussing it
·4· with another attorney, and we came up looking at the
·5· article two, section one, clause two where the state
·6· legislators have the plenary power that decides how an
·7· election occurs within a state.· And then looking at
·8· also title 3 of the U.S. code section 12 that lists the
·9· specifications of states submitting their electoral
10· states to the federal government.· Putting those two
11· together, essentially the vice president is the arbiter.
12· I argue that he has the sole plenary power by the
13· federal government to determine whether or not an
14· electoral slate has been set and he is the one that has
15· received it.· So if he receives it, then he is
16· essentially complicit in certifying fraudulently
17· submitted electors because they did violate, as we've
18· seen in litigation.· And in the absence of the Supreme
19· Court deciding on whether or not that is accurate or
20· not, it falls on the shoulders of Vice President Pence
21· to actually make the determination.· And by extension,
22· what that does is that forces the state legislators to
23· then cast their vote.· By the legislature they would
24· have to call a special session without the governor
25· because the governor is not involved in any way with


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 28 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           27

·1· this other than the certification, and then they would
·2· resubmit an electoral slate that complies with the
·3· Constitution and their state laws, and that would be
·4· applicable to all the contested states, potentially also
·5· New Mexico.· I haven't looked in detail, but at least
·6· the six contested states that we have.· And the reason
·7· why I mentioned New Mexico is because the dueling
·8· electors that were mentioned.· I haven't done a detailed
·9· analysis yet for New Mexico, but that will probably be
10· happening tomorrow.
11· · · · · · ANN VANDERSTEEL:· Okay.· So I'm just going to
12· throw this to Patrick really quickly.· Obviously we're
13· all looking for a peaceful solution to this that's
14· legally.· The president has been looking for a way
15· forward legally.· Have you heard him working with Sidney
16· Powell, Patrick, anything along this line that resembles
17· what you just heard from Ivan?
18· · · · · · PATRICK BYRNE:· I've heard of this idea from
19· 8Ivan directly.· But no, we were focusing on more
20· evidence based approaches to revealing what happened and
21· stopping the steal.· What Ivan's talking about is it
22· more of a constitutional theoretic approach.· I mean,
23· they fit hand in glove.· What gives Pence the duty to
24· turn down the fraudulent electors is the evidence we're
25· gathering and servicing, so that's how the two theories


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 29 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           28

·1· fit together.· And I appreciate Ivan and I like that
·2· approach.
·3· · · · · · This is a belt and suspenders approach.
·4· The belt is we've got -- we have developed -- there's
·5· 50,000 affidavits around America.· 50,000 Americans
·6· have put their lives on the line, frankly, through
·7· given affidavits about what has happened and what
·8· they saw and here and there.· But the suspenders
·9· approach is what Ivan is putting out with Pence.· It
10· should not take that.· I mean, It shouldn't take
11· Pence having to do that.· It should really be
12· resolved -- none of this should have happened anyway.
13· The moment states started changing their election
14· rules without the state legislatures doing it but by
15· election officials, they were violating the
16· Constitution.· The Constitution is unambiguous on
17· this question, and I think the Supreme Court -- you
18· know, the Supreme Court failed us once terribly in
19· 1936, '37.· FDR came to power and wanted to pass a
20· bunch of fascistic -- he wanted to rip up the
21· Constitution basically or punch holes in the
22· Constitution.· For four years our Supreme Court held
23· FDR back.
24· · · · · · In 1936 FDR said basically if the Supreme
25· Court keeps doing this we're going to pack the


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 30 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           29

·1· Supreme Court.· Spring of 1937 the Supreme Court came
·2· out and laid over and reinterpreted the Constitution
·3· and punched all these holes in it over the next
·4· years, look up Wickard v. Filburn as a perfect
·5· example of a case that punches a hole in the
·6· Constitution, and the result was we got a federal
·7· government three times the size that we should have.
·8· So if they lay -- if they go wobbly my on this one,
·9· that will be the second time the Supreme Court really
10· failed the United States.· I don't think it should
11· come down to the Supreme Court, but at the end of the
12· day it may, and they have to stand tall.· Any eight
13· year old can look at what happened on November 3rd
14· and the week thereafter and knows what happened.· You
15· know, suitcases of ballots being pulled out from the
16· skirts of tables.· Everyone else gets pushed out.
17· You know, it's ridiculous.
18· · · · · · If the Supreme Court goes wobbly on this,
19· and they are.· John Roberts, I think he's
20· compromised.· I think John Roberts is compromised.
21· · · · · · Has anyone published -- I have Epstein's
22· flight logs.· Has anyone published Epstein's flight
23· logs publicly yet?· Are they out there yet?
24· · · · · · ANN VANDERSTEEL:· Oh, yeah.· Epstein's flight
25· logs have been publicly published.· There's pictures of


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 31 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           30

·1· John Roberts with Ghislaine Maxwell sitting in the chair
·2· cozy.· There's pictures of him in the water with Bill
·3· Clinton, yeah.
·4· · · · · · PATRICK BYRNE:· I've heard the picture of him
·5· with Ghislaine Maxwell is fake or don't count on that.
·6· I don't know.· I haven't verified it.· I've just heard
·7· don't trust that picture.
·8· · · · · · ANN VANDERSTEEL:· Flight logs are published,
·9· absolutely.
10· · · · · · PATRICK BYRNE:· I know a lot more than I'm
11· saying.· You know, I know a lot more than I'm saying.
12· That guy is compromised.· He should recuse himself at
13· the very least, if not resign, I believe.· But, you
14· know, at the end of the day, if this comes down to the
15· Supreme Court, they have to protect the republic this
16· time.· They failed us.· They have one huge black mark
17· against them.
18· · · · · · ANN VANDERSTEEL:· That's right.
19· · · · · · PATRICK BYRNE:· And when they rolled over
20· against FDR's threat to pack the court and they rolled
21· over, and it's really what got us the situation we're in
22· now.· If they do it again, they are acceding to a
23· fascist takeover, an authoritarian takeover of the
24· United States if they let this pass.· I don't think it's
25· going to reach them.· I think politicians, many of whom


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 32 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           31

·1· are compromised themselves, e.g. Swalwell, what's his
·2· name.
·3· · · · · · ANN VANDERSTEEL:· Eric.
·4· · · · · · PATRICK BYRNE:· Eric Swalwell.· DNI Ratcliffe
·5· said about a week ago that China has come in and they're
·6· clearly trying to compromise our politicians.· You know,
·7· I can't be compromised because I'm a 58-year-old
·8· bachelor.· You can assume that I've done it.· When I was
·9· young and single I was young and single, so there's
10· nothing they've got on me because -- but these guys are
11· compromised.· The Chinese have been very clever about
12· it.
13· · · · · · I think that we're going to raise -- the
14· American citizens still remember the taste of freedom
15· enough that they're going to make their displeasure
16· so clear come January 4th, 5th and 6th and especially
17· on the morning of then the 6th that, you know, the
18· politicians who go along with an obvious theft like
19· this should be ripped to shreds frankly.· that's a
20· metaphor but they are totally, you know -- they all
21· swore an oath to defend the Constitution from enemies
22· domestic and foreign, foreign and domestic, and this
23· is what they were talking about.· And if they meant
24· their words, it doesn't matter what pictures they
25· have on there.· You have to do your duty.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 33 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           32

·1· · · · · · ANN VANDERSTEEL:· That's right.· What should
·2· happen to these people because frankly, when you
·3· consider how many politicians are involved in covering
·4· this up, lying to the American public, obviously if your
·5· team is able to figure out where all this is coming
·6· from, who's interacting, China, Russian, Iran, other bad
·7· actor nations out there, if you're able to code down to
·8· the IP address, what should we do with these people who
·9· have committed sedition and treason because lying to the
10· president is sedition, and being complicit with China is
11· treason.
12· · · · · · PATRICK BYRNE:· That's interesting.
13· · · · · · ANN VANDERSTEEL:· Had this conversation come
14· up?· I mean, are these conversations coming up?
15· · · · · · PATRICK BYRNE:· I probably have a different
16· point of view than you on that.· Well, first of all, on
17· the one hand, what's going on is the elites are once
18· again using the black community as their shield, and
19· they did a bunch of this stealing within black
20· communities.· Four of the major areas were black so that
21· when it gets found out, they can say oh, you're just
22· trying to suppress black vote.· No, black voters weren't
23· the problem.· They weren't the ones who lied and
24· cheated.· It's not voter fraud, it's election fraud.
25· The election officials and a machinery is what cheated.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 34 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           33

·1· And so the black communities are not -- shouldn't be
·2· held to blame, but the elites who performed this are
·3· hiding behind them as they've done for my entire life.
·4· And what I hope is they have ripped limb from limb by
·5· the black community, and the black community wakes up to
·6· how they've been used by left elites.
·7· · · · · · Other than that, other than that cheery
·8· thought, I think what needs to happen is what they
·9· actually do in countries where something, like in
10· Africa when something so terrible has gone on like
11· Sierra Leone where you have civil wars and people
12· chop each other's hands off and stuff, you know, what
13· are you going to do?· Are you going to prosecute a
14· hundred thousand people?· What they actually do is
15· they do something called a truth and reconciliation
16· process.· it's what they do in South Africa at the
17· end of Apartheid.· It's actually a very beautiful
18· idea, and it's a lefty idea, but I'm not a Republican
19· which means I look -- and there are some good ideas
20· on the left, and this idea, like in South Africa,
21· after Apartheid, they gave everyone a chance to come
22· forward.· And the prison guard who'd been a prison
23· guard and beaten black prisoners or something, or
24· actually if he had killed some could actually just
25· come out and say publicly at these hearings yes, I


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 35 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           34

·1· did this and I did this and I did this and I killed
·2· somebody, and if you do that, there's no prosecution.
·3· But if you leave something out, suppose it turns out
·4· that you also raped some of the prisoners.· If that's
·5· discovered later in an investigation, they prosecute
·6· you for that.· So you have a real incentive to come
·7· out and publicly acknowledge I did these things.
·8· · · · · · I think that after this is over and Donald
·9· Trump emerges as the properly elected president and
10· does not have this stolen from him, and again I say
11· that not as a man who voted for Donald Trump.· I've
12· never voted for a Republican in my life, swear on my
13· eyes.· I did not vote for him.· It's purely on
14· principle I'm saying this.· when that emerges, and it
15· has to emerge because that's what happened, what
16· should be offered is some kind of truth and
17· reconciliation process, I mean, all the way to the
18· top, all the way to the people that are behind this
19· be given that chance, and anything they come out and
20· acknowledge I would let them off the hook for.· And
21· that's probably a little bit more soft hearted than
22· most of your viewers would demand, but I think it's
23· how we start what happens and give everybody a chance
24· to come clean, and then what's left is you start
25· investigating, and if you find things that people


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 36 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           35

·1· have kept hidden, that's what they go to jail for.
·2· · · · · · ANN VANDERSTEEL:· What about the people --
·3· · · · · · PATRICK BYRNE:· At the very top you've got to
·4· put a dozen people away, one to two dozen people who are
·5· involved in this need to be put away.· But below that,
·6· you do a truth and reconciliation process.
·7· · · · · · ANN VANDERSTEEL:· Well, I can appreciate your
·8· comments on that, Patrick, because nobody wants to see a
·9· hundred people, you know, get dealt with for treason the
10· way the USC statutes would call for that, right?· That's
11· pretty ugly.· However, there are things, like Sidney
12· Powell has even talked about the Weiner laptop, she's
13· talked about the hardened New York City police
14· detectives that had to go throw up in the bathroom.
15· There's been rumor about that laptop and what's on there
16· for years.· It's not like it's not known out there.· And
17· of course, there's always the hashtag Clinton body count
18· and all this other stuff.
19· · · · · · At some point people who have done crimes
20· against humanity, there's a reason President Trump
21· wrote the executive order back in December of 2017
22· talking about crimes against humanity.· It's not just
23· about human trafficking, although these people
24· arguably are involved in all of that.· How would you
25· suggest -- I mean, truth and reconciliation doesn't


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 37 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           36

·1· apply to that individual who's committed true,
·2· horrific crimes against humanity?
·3· · · · · · PATRICK BYRNE:· I would probably say child
·4· trafficking, human trafficking, no, I don't think you
·5· can apologize your way out of that one.· Don't you
·6· like -- I have to mention in case there's any prisoners
·7· watching, you know these -- whenever you read about
·8· prisons and male prisons, there's this principle that
·9· when they put a rapist or a child molester in prison
10· they get killed.· What that is is prisoners saying, you
11· know, we may be low, we may have committed armed robbery
12· or something, but don't expect us to live among those
13· kind of people, to which I tip my hat.· It tells me they
14· still have honor, and I heartedly applaud that that's
15· what they do.· So I don't think you can truth and
16· reconcile your way out of having committed rape or
17· anything having to do with rape or anything having to do
18· with human trafficking or child -- anything to do with
19· children.
20· · · · · · But other than that, we have to move on a
21· little bit, and it's going to require maybe more
22· forgiveness than pure law would suggest, than pure
23· application law would suggest.· Who knows.· Above my
24· pay grade.
25· · · · · · ANN VANDERSTEEL:· Okay.· Fair enough.· Just a


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 38 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           37

·1· couple things are hitting the headlines right now.
·2· President Trump pardoning 15 people today, including
·3· commuting sentences of about five others, George
·4· Papadopoulos, Duncan Hunter and a few other people at
·5· the top of that list.· Is that something that is of
·6· concern from optics in terms of this as he's looking at
·7· this as his last days.· Where do you think that was
·8· coming from?
·9· · · · · · PATRICK BYRNE:· Was my name on the list?
10· · · · · · ANN VANDERSTEEL:· No, your name's not on the
11· list.· Neither is mine.
12· · · · · · PATRICK BYRNE:· Well, I think, you know, it
13· would be only prudent.· If the president is doing things
14· like that, he should do it prudent, not to the leave all
15· that until he finds out whether he's in or not, whether
16· he gets through this heist or not, so I don't read too
17· much into that.· It's only prudent for him to be doing
18· something like that now.
19· · · · · · ANN VANDERSTEEL:· Okay.· Comment on this.
20· President Trump now has gone ahead and given orders to
21· John Durham, giving him the authority to present
22· classified information to a grand jury investing the
23· crossfire hurricane scandal, for lack of a better word
24· for it.· What do you think about that?· Are we going to
25· see something finally?


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 39 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           38

·1· · · · · · PATRICK BYRNE:· Well, I think he's probably
·2· pretty impatient.· I don't want to reveal too much.
·3· It's already bad enough that I revealed what happened in
·4· the oval office.· But since the one guy lied about it,
·5· I'll tell the truth.· I will reveal this.· The only one
·6· of two times I saw him raise his vase was say to Pat
·7· Cipollone when Pat Cipollone was temporizing and dancing
·8· and deflecting and that kind of thing, one thing that
·9· President Trump threw at him, where's my Durham report.
10· Where's the Durham report, Pat.· He was very calm.
11· Trump is much calmer and gentler than I -- my feelings
12· for him -- I really came to be quite fond of him in one
13· four and a half hour meeting, four hour and ten minute
14· meeting.· He's much different than portrayed on TV.
15· He's a little bit too nice.· But, you know, one thing he
16· threw back in Cipollone's face is where's the Durham
17· report, Pat.· When Pat started saying oh, I've been
18· working so hard trying to get, you know -- President
19· Trump understands that he's been betrayed internally by
20· his staff, and that was one of the -- I know what's in.
21· I know what some of that confidential information is, as
22· you know.· Some of that confidential classified
23· information is that I brought Hilary Clinton 18 million
24· dollars, and they sure as hell should be presenting that
25· to a jury, grand jury.· The FBI told me to bribe Hilary


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 40 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           39

·1· Clinton $18 million, and I accomplished my task in early
·2· 2016.· I walked you through that before, correct?
·3· · · · · · ANN VANDERSTEEL:· That's right.· Oh, yeah.
·4· You broke that on the show and it went viral.· This is
·5· what America is hungry for.· America is starving for
·6· this information.· We've been sitting here.· We've been
·7· told it's coming.· Tic toc, tic toc.· I mean, God bless
·8· Hannity and all this, but we never really have gotten
·9· these bombs, and frankly, in a matter of a couple of
10· weeks you've dropped them on alternative media, much
11· bigger bomb shells than the American public has heard
12· her four years of this Trump Russia collusion,
13· impeachment, every single hoax you can name under the
14· book right now, and America is to the point of please
15· put a head on a stick, figuratively speaking, I mean,
16· but they want something.· They want the figurative blood
17· of somebody going down for all the atrocities that this
18· president has been put through.
19· · · · · · What you're explaining is the only people
20· that back this president with the exception of you
21· and General Flynn in the room that day and Sidney
22· Powell is the American people that elected him.
23· That's the reason why his MAGA rallies have been so
24· incredibly important to him.· He gets the energy, the
25· love and the will to fight on because you know he's


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 41 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                               40

·1· donating his salary, just like you're donating your
·2· money into this cause here.· And again, I'm just
·3· astounded that where are the other billionaires out
·4· there that could arguably be doing the same thing?               I
·5· don't understand why they don't care.· Don't they
·6· understand their money is going to get taxed into
·7· oblivion under a Biden administration?· Isn't that
·8· part of the reason why you're fighting, hello,
·9· besides communism and people trading our company.
10· · · · · · PATRICK BYRNE:· They're motivated by different
11· things.
12· · · · · · You know, there's really only one patriotic
13· billionaire that I've ever met, and we may disagree
14· on policies here and there, but the only patriotic
15· billionaire I've ever met is a guy named Warren
16· Buffet.· Since I was a little kid I'd get all
17· faklempt.· Before, you know, he was my friend since I
18· was a little kid, before he was Warren Buffet, this
19· mythical figure, since I wa a little kid he's been
20· teaching me -- he's a very patriotic man and loves
21· our country.· We disagree about some policies, and
22· your viewers do too.
23· · · · · · Anyway, there's a huge bombshell coming
24· about a rape and murder.· Did I walk you through that
25· on your show?


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 42 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           41

·1· · · · · · ANN VANDERSTEEL:· No.
·2· · · · · · PATRICK BYRNE:· Well, there's a rape and
·3· murder that's going to be revealed; some day, and I can
·4· tell you John Brennan or James Comey signed off on it
·5· after the fact.· They didn't know it beforehand, but one
·6· of those two people signed off on a person who committed
·7· rape and murder so as to keep the guy on the street,
·8· continuing to -- so just so you know, and three federal
·9· agents were directed by John Brennan and James Comey.            I
10· don't know which one signed the piece of paper.· They
11· signed off on a piece of paper so that a guy could
12· continue to do something they needed done.· So that's
13· also going to be revealed soon enough.
14· · · · · · Just so you know --
15· · · · · · ANN VANDERSTEEL:· That surprises me.· I'm
16· saddened by this.· I'm truly saddened by this.· So let's
17· sort of get this pulled back together a little bit.
18· · · · · · So right now President Trump has verbally
19· given Sidney Powell the go ahead to be special
20· counsel investigating the voter fraud, the election
21· fraud, correct?
22· · · · · · PATRICK BYRNE:· He verbally did it.· He
23· verbally made his decision, and when Sidney Powell tried
24· to act, they have pulled the rug out.· They have refused
25· to execute the president's order that Mike Flynn and


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 43 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           42

·1· Patrick Byrne and Sidney Powell and one other lawyer saw
·2· him deliver, done and done.· His own staff refused to
·3· execute it, and they have put a lead shield around him.
·4· · · · · · I'll give you an example.· Do you know Mike
·5· Lindell, Mike Lindell, the pillow --
·6· · · · · · ANN VANDERSTEEL:· Of course.· He's a great
·7· guy.
·8· · · · · · PATRICK BYRNE:· Yeah.· He can't get through to
·9· the president anymore I heard today from someone else.
10· All kinds of people who for four years could pick up the
11· phone and talk to their friend, the president, they can
12· no longer get through.· Mark Meadows and Pat Cipollone
13· have, as far as I can tell, buried the president in lead
14· shielding so no information can come in.· The president
15· asked us to deliver a certain set of documents to him so
16· he could read, and they have refused to even let that
17· set of documents get to him.· People who -- there are
18· people who work in the White House who are having their
19· privileges revoked just in order to keep the president
20· isolated.· They're keeping him isolated, they're
21· refusing to let him get information, and they're
22· refusing to let the outside -- people -- I know someone
23· else who was told today -- well, I don't want to go too
24· far, but there are people who the president is saying
25· come see me, and his handlers are refusing to let those


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 44 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           43

·1· people get in.· They are absolutely being insubordinate,
·2· refusing to execute his orders.· It's hard to believe.
·3· · · · · · ANN VANDERSTEEL:· This is what I've heard from
·4· somebody who was a Trump loyalist that has known the
·5· president for years, and she's talked about the inner
·6· circle around the president has been nothing but a snake
·7· pit and, you know, she's someone who used to pick up the
·8· phone herself and contact the president.· She said it's
·9· next to impossible.· The only time she gets to talk to
10· him is when he's down in Mar-a-Lago and they have a
11· private meeting that's never even there.· It's offsite
12· because they have to.· It's really just so sad that our
13· government --
14· · · · · · PATRICK BYRNE:· What's happened since Friday
15· is I have to imagine unprecedented.· His own staff, his
16· senior staff -- now the junior staff love him and want
17· to fight, but the senior staff is pushing back on the
18· junior staff and refusing to execute the president's
19· orders and refusing, taking away privileges and such so
20· information cannot get to the president.· It's the
21· damndest thing I've ever seen.· I'd go over with a blow
22· torch if you let me take care of this.
23· · · · · · ANN VANDERSTEEL:· You know what.· Frankly,
24· honestly, Patrick, you would be better served with
25· people like yourself who are putting your money where


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 45 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           44

·1· your mouth is around him.· I know you would do it
·2· probably for free.· You'd probably work to support the
·3· country, as would I.· I would go in there tomorrow and
·4· do exactly what he has done.
·5· · · · · · PATRICK BYRNE:· I've got to tell you, I came
·6· to really grow deeply fond of the fellow, and I've come
·7· to understand why America loves him so much.· He's a
·8· very -- I felt very sorry for him and what they are
·9· doing, and he knows they are doing it, but it's like
10· he's wading through a swamp that's up to his chest.
11· Imagine trying to jog and you're in this swamp and it's
12· just holding you back.· It's the craziest thing I ever
13· saw.· We sit on the spot.· Cipollone and I and Mike
14· Flynn nearly got in a fisticuffs right there in the oval
15· office.· I'm shocked by these fellows, and they are way,
16· way, way in front of their headlights.· I think they're
17· committing federal felonies by what they're doing
18· frankly.
19· · · · · · ANN VANDERSTEEL:· Are you aware of an
20· organization called Every Legal vote.
21· · · · · · PATRICK BYRNE:· I've heard of it.· It sounds
22· right.· I don't have any details.· Let's count every
23· legal vote.
24· · · · · · ANN VANDERSTEEL:· Yeah.· They're a really well
25· run organization.· Frank Gafney is over there, Kevin


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 46 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                                45

·1· Freeman from the Economic War Room is over there sort of
·2· leading the charge on this.· Brilliant minds.· They have
·3· a group of people around the country that are literally
·4· doing conference calls almost 24/7, and have been on
·5· their own time and dime like what you're doing,
·6· organizing, and they're coordinating with somebody who's
·7· a staffer that works for Peter Navarro, and this
·8· particular staffer talks to me, and he's putting out
·9· there that right now one of the areas on their rebus
10· that they're looking at is whether they are -- and he's
11· drafting a legal memo to Rosen right how, the new acting
12· attorney general that they're listing all the statutory
13· authorities that they have to examine that they can use
14· to examine voting machines, and one of them, the big one
15· in this particular gentleman's opinion is 42 USC 1974,
16· and essentially it's looking at the civilian's right to
17· question Federal Election Commission, the outcome, and
18· setting on the basic precedence from previous Supreme
19· Court cases, and I literally just had this dropped in my
20· lap ten minutes before you and I went live, so I haven't
21· read, I think it's a 110-page case study on this.                I
22· didn't have enough time to skim it.· Imagine that.                I
23· read the introductory paragraph.· But this is what
24· they're angling for, another angle to at least give what
25· you're doing some leverage and teeth, you know, teeth


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 47 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           46

·1· because obviously they're pushing back.· Oh, these are
·2· private citizens.· Just, you know, how can we trust this
·3· information.· Where is the U.S. government cyber people
·4· coming in and backing what you're presenting?
·5· · · · · · PATRICK BYRNE:· The U.S. Government has
·6· captured.· It's captured.· There's a term in economics.
·7· It's called regulatory capture, which is that we set
·8· up -- we're afraid of industry like Wall Street, so we
·9· set up this regulator or the SEC to regulate it and keep
10· it from harming us.· The regulators have a tendency to
11· get captured and become the property of client
12· industries.· The SEC in 2008 became completely clear
13· that they're the lap dog on Wall Street, for example.
14· The guy who wrote this got a Nobel prize for it, a guy
15· named Stiegler in 1971, Fear of Regulatory Capture.
16· · · · · · Well, there's a theory, it's actually a
17· Marxist theory, that it's not just regulators who get
18· captured.· It's regulators and congressmen and
19· senators and journalists and judges.· It all gets
20· captured.· Your government is captured and they are
21· not enforcing laws, and so anything that gives more
22· power directly to the citizen to pursue the law is
23· something I favor.
24· · · · · · I do want to mention something that came
25· through from Mr. Trump, all this stuff about marshall


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 48 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           47

·1· law and he's trying to do this and do that.· Trump
·2· made perfectly clear, look, all I want is a fair
·3· count.· I don't want to be hoodwinked out of a big
·4· landslide victory.· If we get transparency and we can
·5· inspect these machines and find out what actually
·6· happened, and he said this, if it turns out I didn't
·7· win I'll leave.· Look, I don't need this.· I'll walk
·8· to my helicopter and I'll get play golf the rest of
·9· my life.· I'll be perfectly happy.· All we want is to
10· be able to inspect the machines and find out what
11· really happened.· And he said, you know, if I'm not
12· right and I didn't win, I'll leave, I'll leave
13· gracefully, no muss, no fuss, take a helicopter.· I'm
14· out of here, I go play golf.· I just don't want to
15· leave when I strongly suspect that this whole
16· thing -- that I a landslide victory and it was
17· stolen, and that's, I think, a perfectly reasonable
18· thing for him to say.· I know that we could have the
19· answer.· We could have the answer by January 4th or
20· 5th.· If he signs the right piece of paper, we could
21· have the answer by January 4th or 5th.· And you know
22· what, I'm the same way.· If it turns out that there
23· was no mischief and Biden won this, if somehow the
24· guy who couldn't draw ten people to a rally in
25· Arizona beat the guy who had a 96-mile car jam in


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 49 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           48

·1· support, if that really happened, you know, he's my
·2· president.· I'll salute Joe Biden, just like I did
·3· Barack Obama and George Bush, shudder, shudder.
·4· · · · · · So I do want to mention he has more sense
·5· -- he has more power than his own attorneys are
·6· telling him.· There's an executive order from 2018
·7· which declared an emergency, and he doesn't even have
·8· to sign anything new.· That gave him an executive
·9· order concerning foreign interference in a domestic
10· election, and that document, which has been -- that's
11· quite a powerful document.· He has powers under that,
12· all kinds of powers.· He only needs to exercise a
13· small one, and that is to get some machines
14· inspected.· Like I say, we'll probably do it.· It can
15· be done in seven days, 14 days at the tops, and the
16· government, the official government is providing zero
17· help.
18· · · · · · The FBI -- there's 50 ,000 affidavits.
19· They're not even getting contacted by the FBI.· U.S.
20· cyber command sitting on its heels.· It's disgusting.
21· · · · · · ANN VANDERSTEEL:· Why --
22· · · · · · PATRICK BYRNE:· They're not doing their jobs.
23· · · · · · ANN VANDERSTEEL:· Why do you think President
24· Trump had that executive order drafted if he didn't
25· expect what is happening today to happen?· I mean,


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 50 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           49

·1· that's a really powerful document.· It was almost like
·2· he knew this was going to happen.· Why would he write
·3· something like that if he wasn't sort of preparing for
·4· this very moment right now?
·5· · · · · · PATRICK BYRNE:· Well, maybe.· I know that the
·6· long them Trump supporters always want to say he's
·7· playing 3D chess, and he's seen before and he's seen
·8· that, and he plotted all this out.· I'm not sure.· You
·9· know, luck counts, too.· Maybe he got lucky.· Maybe he
10· got information a couple years ago about how much
11· election fraud there is in the United States.· I don't
12· know, but it turns out to be pretty handy that he signed
13· that.· Actually, under Obama something was done too up
14· to toughen things up a bit and that gives the president
15· powers.· So I think that maybe he got lucky or maybe you
16· folks are right and he had a lot of foresight.· But in
17· any case, whatever the reason, that document's settled,
18· it's perfectly legal, and it gives him the power to get
19· to the bottom.
20· · · · · · One more point on that.· You know, by
21· federal law these machines and records all have to be
22· maintained for 22 months.· There's a reason for that.
23· It's so that we voters can, if something like this
24· arises, get to the bottom of what happened.· So all
25· we're saying is let's get to the bottom of what


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 51 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           50

·1· happened.· It's not some revolutionary idea.· It's
·2· envisioned in the law.
·3· · · · · · ANN VANDERSTEEL:· All right.· I have somebody
·4· who's a source.· I'm not going to go into the name of
·5· this individual, but he's provided somebody to me that
·6· since then has been indicted for some irregularities,
·7· big ones.· He's worth about seven and a half billion
·8· dollars, and he's being held I guess now under house
·9· arrest.· He was in jail on Cape Verde off the coast of
10· Africa, but he's apparently very knowledgeable about the
11· election fraud, all the actors, the bad actors, the
12· foreign interference, et cetera.· Have you heard about
13· this particular gentleman as someone that can come
14· forward and testify to all of these election, quotes,
15· irregularities, the steal?· And if not him, have you
16· heard of others, besides the affidavits, but I'm talking
17· bombshell people?
18· · · · · · PATRICK BYRNE:· Yes.· There's a number of
19· bombshell people.· Every day brings us a new bombshell.
20· People, as I said earlier, you've got to understand what
21· you're seeing.· Well, first the press.· Ignore the
22· press.· Look at the legal filings.· But even what's in
23· the legal filings from two weeks ago reflect our state
24· of knowledge of about three weeks ago, and that extra
25· week was Sidney Powell working around the clock turning


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 52 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           51

·1· the knowledge into actual legal filings for the Supreme
·2· Court.· So if you go and look up her case at the Supreme
·3· Court you'll see lots of affidavits and lots of
·4· evidence, but that's three weeks dated.· We have
·5· developed a mountain since then.· And in particular, we
·6· now in the last couple days, in the last week we have
·7· ticked and tied on some -- there's really two enormous
·8· things that are just ironclad.· Yeah.· We have gotten to
·9· the very bottom of a whole bunch of mischief in four
10· states, I mean, how the ballots were done, how illegal
11· ballots with printed, where they went, who did what.
12· We've got affidavits, text messages, everything you
13· need.· There's no point in killing anyone now because --
14· for the bad guys to kill anyone because we've got it
15· all.· So it's really just a matter of what we're allowed
16· to present in the court systems.· And be aware, these
17· guys are like oh, Sidney filed 50 cases.· That's
18· nonsense.
19· · · · · · The cases -- essentially nothing has had
20· any judge actually look at it, any evidence.· All
21· kinds of citizens and parties around the country
22· immediately after the election filed lawsuits that
23· local judges threw out on the grounds they didn't
24· have standing, so I'll sort of fill it all for your
25· lawyer stuff, had nothing to do with the substance,


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 53 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           52

·1· and the truth is they didn't have the evidence at
·2· that point.
·3· · · · · · My colleagues, my cyber colleagues were in
·4· the background developing and developing this
·5· mountain of evidence, but that's really only begun to
·6· show up, and it started showing up in Sidney Powell's
·7· lawsuit, it showed up in a Michigan courtroom in the
·8· Antrim matter.· So it's in those lawsuits in the
·9· Supreme Court.· But even what's in those lawsuits is
10· just the tip of the iceberg of what's coming.· And in
11· particular, we have it absolutely dead to right
12· reverse engineered what happened with some printing
13· of fake ballots -- well, I shouldn't go any farther
14· than that, but we have regarding four states, we have
15· ironclad super to nuts, you know, every step of the
16· process, who did what, where, when, and it's all
17· locked up.
18· · · · · · And we have another story that's
19· reminiscent of what you just described.· We have all
20· the data on that, too.· This is open and shut.· When
21· the evidence finally gets presented, is able to be
22· presented in court, it's a no brainer.
23· · · · · · ANN VANDERSTEEL:· I'm very excited -- I want
24· to interrupt you really quick.· We're about to go on
25· another simulcast with our very big partners at Global


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 54 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           53

·1· Financial Network, GFWN, as well as Red State Talk
·2· Radio, which is one of the biggest internet radio brands
·3· out there.· In fact, we have a nice billboard up on Time
·4· Square, Patrick, from the Red State Radio folks.
·5· They're just absolutely gracious.· They love the content
·6· that we're putting out.· In fact, Producer Liz, thank
·7· you for putting that up.· This is our billboard over in
·8· Time Square thanks to our partners over at Red State
·9· Talk Radio.
10· · · · · · Mike Lindell also might be joining us.
11· We've reached out to Mike Lindell during the course
12· of this interview since you've invoked his name, and
13· Producer Liz immediately reached out to him.· he's
14· currently finishing up another interview.· He may
15· jump in if you want to stick around for that aspect.
16· · · · · · PATRICK BYRNE:· I'd love to.
17· · · · · · ANN VANDERSTEEL:· Just to sort of bounce some
18· of this around because frankly Mike Lindell is a
19· powerful voice to the president.· Right now we are live
20· with Red State Talk Radio as well, our great partners
21· around the world.· They have a huge, huge audience, and
22· we're so appreciative of them taking this show live in
23· the Global Financial Wealth Network.· Thanks to our
24· great partners out there.· They're in 70 million homes,
25· Patrick, so we are over the top as well in addition to


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 55 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           54

·1· all of our internet partners that we go out on as well.
·2· So, you know, this is new media, and thanks to people
·3· like you that recognize the significance of it.
·4· · · · · · PATRICK BYRNE:· Yeah.· The heck with legacy
·5· media.· I'm so over them.· I've discovered Red State
·6· Radio really in the last month and right on.· Nature
·7· abhors a vacuum, and if the mainstream is going to stay
·8· in cover up mode, guys like Red State Radio are just
·9· going to grow and grow because the American people want
10· the truth, and they know.· Any child can see the pablum
11· you're getting fed through the mainstream is a turd.· So
12· I endorse Red State Radio and I'm glad that we're on.
13· I'm happy to stick around if you want.· I'll give you a
14· break if you want.· Whatever you prefer.
15· · · · · · ANN VANDERSTEEL:· Producer Liz, do we want to
16· take a break?· We have such an awesome guest here who
17· understands the ebb and flow of new media, which is
18· fantastic.· Having done a zillion old media legacy
19· shows, we've just been sort of going with the ad lib
20· here because, as I said, our normal start show starts at
21· 9:00 eastern, and we will continue with that regularly
22· scheduled broadcast.
23· · · · · · I'm going to ask you this while we're
24· waiting for Mike Lindell.· Jason Thick, who taking on
25· Facebook, I mentioned him I believe when I was


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 56 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           55

·1· interviewing you a few weeks ago back in Washington
·2· DC.· He's Thick vs. Facebook.· He's been in the court
·3· now for three years.· The Supreme Court now has taken
·4· the case.· Facebook failed to respond to his lawsuit
·5· and he's arguing the CDA Section 230 clause and its
·6· interpretation which Jason Thick says Clarence Thomas
·7· for the first time was the only judge to interpret
·8· Section 230 as it's intended to be interpret,ed
·9· meaning if you're a platform you don't get to act
10· like a publisher and then get the benefit of hiding
11· behind a platform protections, the immunity clause.
12· This is explained (inaudible).· What's your thoughts
13· on this?
14· · · · · · PATRICK BYRNE:· Well, that's exactly -- I
15· remember that debate 20 years ago and people were suing
16· Yahoos for what was on up on a message board, and the
17· Yahoos of the world argued look, we're just like in the
18· town square there's a tree, and people go and posting
19· their messages.· And if some of them are libelous and
20· such, you can't sue the guy who put up the tree.· That
21· was their argument.· It's just a public service and
22· they're not taking an editorial position, and for that
23· reason you shouldn't be able to sue a platform like that
24· for libel, and I accepted that.· That's past is law.· No
25· one anticipated that they would then become publishers


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 57 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           56

·1· and they've effectively become publishers by their acts
·2· of -- first of all, just by their algorithms and what
·3· they choose to promote and what they choose to suppress,
·4· let alone their decisions to sensor.· They have stopped
·5· being a, what's the term in law, there's a term, a
·6· natural monopoly.· They stopped being -- they really
·7· have I think have lost the protection of that.· And if
·8· Clarence Thomas did that, that was good reasoning.
·9· · · · · · You know, the reason they got the
10· insulation from libel suits the because they promised
11· to be sort of just a neutral town square, and then of
12· course they can regulate offensive speech.· you
13· wouldn't want people to put up kiddie porn or
14· something.· So yeah, they get the right to stop that.
15· But then under the auspices of doing that, they are
16· suppressing all kinds of political speech, which is
17· the most important speech that can ever be
18· suppressed, and they are suppressing -- they clearly
19· have become publishers, and so you should be able to
20· sue them just like -- didn't CNN pay Nick Sandmann
21· three hundred million bucks or something because of
22· what they said about him?
23· · · · · · ANN VANDERSTEEL:· That's right.· I don't know
24· what the final number was.· I thought it was 240.· It
25· was a lot of money.· He could practically start his own


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 58 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           57

·1· media company really.· He could get off the ground
·2· pretty nicely with something like that.
·3· · · · · · PATRICK BYRNE:· Yeah.· Well, I think that
·4· that's -- you should be able to do that if people are
·5· saying horrible things about you on Facebook and
·6· Facebook is promoting it and you've got answers to it
·7· and they're suppressing or refusing to let that be said,
·8· they are clearly a publisher, and they be just as liable
·9· as CNN turned out to be regarding Nick Sandmann.
10· · · · · · ANN VANDERSTEEL:· All right.· So I want to ask
11· about your next move.· When this election is proven to
12· be a fraud, the president is duly re-elected and he's
13· seated at the inauguration, I'm sure you will be
14· somewhere right close by at that inauguration as will
15· Producer Liz and myself.· (Inaudible) on our next gig
16· going to look like.· Do you want to work in the
17· administration or do you want to go to just being
18· bachelor Patrick, having a good time, living the life of
19· all the riches you've accrued because you've worked so
20· hard?
21· · · · · · PATRICK BYRNE:· Yeah, I'm not a government
22· guy.· I'm better on the outside, and I think that I'm
23· going to make myself scarce.· No.· It would be
24· flattering, and I would be happy to serve this
25· president.· You know, you always serve any president


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 59 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           58

·1· frankly.· So really as a citizen, if you get asked to do
·2· something like that, you should, but that's not my
·3· ambition.· My ambition is to get far away from this
·4· town.
·5· · · · · · I've been living here for about three
·6· months, and that's three months more of my life I
·7· spent in Washington DC.· For one thing, it attracts a
·8· kind of person, these freaking weasels.· This guy
·9· like Pat Cipollone, these guys -- if they worked in a
10· company like Google, they wouldn't last until noon.
11· If you worked in a Silicon Valley tech company, that
12· kind of sleaziness, that kind of talking out of both
13· sides of your mouth, I mean, it's just kind of
14· transparent and I don't like the caliber of men I
15· find here frankly.· There are some wonderful people.
16· I love the military people, I love all kinds of
17· government employees who are the agents, field agents
18· of the FBI who I had the honor of helping on Wall
19· Street, take down Wall Street.· I've had more than my
20· interaction with feds.· It's probably good.            I
21· probably pushed my luck, and if I make it through
22· this alive and not in prison, I should probably go
23· far away from Washington and raise tomatoes or
24· something and just stay quite.· That's really my
25· plan.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 60 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           59

·1· · · · · · ANN VANDERSTEEL:· By the way, I just want to
·2· let you know you have a few of your fans in here.· They
·3· love you.· I'm just looking at the actual You Tube feed.
·4· I'm not even looking at Facebook right now.· Tory is in
·5· here.· She's in here.· She says Patrick's the best.
·6· Someone by the name of Carl Johnson, he's worried that
·7· we're running out of time.· Are we running out of time?
·8· · · · · · PATRICK BYRNE:· We are running out of time.
·9· You know, come January 6th things get really -- this has
10· to be planned by January 6th, so we have 14, 15, 16,
11· days.· But Winston Churchill said we can always count on
12· American -- it might not be exactly right, but you can
13· always count on Americans to do the right thing after
14· they've exhausted all the alternatives.
15· · · · · · ANN VANDERSTEEL:· All right.· We're going to
16· take a quick break, Patrick.· We'll take a quick break.
17· When we come back we'll take some more questions from
18· the audience if that's okay with you.
19· · · · · · PATRICK BYRNE:· I'd love to.
20· · · · · · ANN VANDERSTEEL:· And hopefully Mike Lindell
21· will be able to join us, and we'll be right back after
22· this quick break.· Stick with us.
23· · · · · · PATRICK BYRNE:· I'd love to talk to your
24· audience if I can and Mike.
25· · · · · · ANN VANDERSTEEL:· Great.· Super.· All right.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 61 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           60

·1· We've got a break coming up.
·2· · · · · · A VOICE:· Trump put out a video last night
·3· stating that those who do not have courage will always
·4· make fun and laugh at the people with courage, and those
·5· with courage have the stamina and dignity to stand up
·6· and fight tyranny.
·7· · · · · · A VOICE:· All the people that have gone out
·8· there against the mainstream media and said you're going
·9· to call us racist, you're going to call us potential
10· Timothy McVeys?· Fuck you.· War.
11· · · · · · (Music)
12· · · · · · ANN VANDERSTEEL:· And welcome back.· I am Ann
13· Vandersteel, and we have an incredible edition of Steel
14· Truth tonight.· We are going long, long and very long
15· because we have an amazing guest.· Patrick Byrne, the
16· former CEO of Overstock is with us this evening dropping
17· some serious bombshells, and actually also teasing that
18· not only does he have additional bombs, but moabs coming
19· forward, things he knows about in the Durham Report.
20· One of them he did drop in this show about Hilary
21· Clinton taking an $18 million bribe on top of a
22· $20 million bribe she took from Turkey.
23· · · · · · ·Patrick Byrne, great to have you in Steel
24· Truth this evening.· The audience is on fire.· Tory
25· just called me.· Millie Weaver and Try are in chat


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 62 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           61

·1· right now just in a You Tube chat, and they are
·2· excited.· I think Tory said she would have bitch
·3· slapped those people from what I'm reading in the
·4· actual chat, which is incredible.· Thanks so much for
·5· sticking around with us, and maybe Mike Lindell will
·6· pop in here as well.
·7· · · · · · But let's take some questions from the
·8· audience, Patrick.· Before we do that, is there
·9· anything you want to, as you disappear behind the
10· curtain, relay while you were talking to Sidney?
11· · · · · · PATRICK BYRNE:· I'm just setting up some more
12· interviews.· I just wanted to say good on you, Red State
13· Radio, and this is how markets work.· If they're going
14· to have a monopoly, if the mainstream is going to try to
15· be a monopoly and impose a blackout -- I feel like I'm
16· living in the Soviet Union with the blackout they're
17· trying to impose on the truth, that just creates this
18· wonderful opportunity for alternative media and good for
19· Red State, pardon me, Red State radio to be willing to
20· endorse this.· And so I'm endorsing you, Ann
21· Vandersteel, and the Steel Truth and I'm endorsing Red
22· State Radio.· Good for you.· I see the next Fox in the
23· making.· You're going to be big if the mainstream
24· sticks -- and you know what, Fox having lost half its
25· viewership, they're not going to get it back.· When we


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 63 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           62

·1· get through this, and we will get through this and Fox
·2· was on the wrong side, you know, they have no
·3· principles.· They're going to come back.· I shouldn't
·4· say that.· Maria Bartiroma does, Martha McCallum and
·5· Tucker Carlson and Lou Dobbs has been good, so some of
·6· them have been good, but the rest are going to try to
·7· come back, and their audience is not going to be there.
·8· It's going to stick to the News Max, the One America
·9· News, the Steel Truth, so congratulations.· I love
10· watching this process play out.
11· · · · · · ANN VANDERSTEEL:· It's exciting to be part of
12· the process.· It's been a long, hard fought battle for
13· all the folks that do what we do, but we love it.· We
14· wouldn't do it if we didn't.· That's the whole point.
15· We love our country and we love the truth.
16· · · · · · I'm going to pick a question out here from
17· Luby Sypes who says what did Patrick think about
18· Acting Secretary of Defense Miller thanking Pence for
19· being a mentor and his comment about the most complex
20· military operations in history?· Do you have any
21· thoughts on that?
22· · · · · · PATRICK BYRNE:· I don't have thoughts.· That's
23· a new quote to me, so I shouldn't opine without knowing
24· the context and such.· But I can tell you that I think
25· Chris Miller of whom we speak, the acting secretary of


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 64 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           63

·1· defense, is quite a fine man.· He's from the special
·2· operations community.
·3· · · · · · I will use this opportunity to tell people
·4· you want to trust the U.S. Marines.· The military in
·5· general is well regarded and great.· The U.S. Marines
·6· and the special operation community, especially the
·7· Green Berets, the Green Berets.
·8· · · · · · You know, there's a story told that JFK in
·9· 1962 visited Fort Bragg and he allowed -- until then
10· the Green Berets -- until then they weren't allowed
11· to use the Green Beret.· It was a hidden thing.· It
12· was called special forces only, and the Green Beret
13· was almost like a slang term or something.· Only then
14· did Kennedy authorize them to use the Green Beret,
15· and there's a story that it was told, and old Green
16· Berets always know this story, that he took the
17· command master sergeant aside, the senior enlisted
18· Green Beret at the time, and he said -- he gave him a
19· message for that man to pass to the senior enlisted
20· in every A team in perpetuity, and the message was
21· have your plan ready for the day the federal
22· government goes rogue because when it does, it will
23· be this community that restores the Constitution.· So
24· I trust them.
25· · · · · · I've had some Seal friends.· We all the


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 65 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           64

·1· love the Seals.· The Seals we admire.· They're
·2· wonderful people, but in my mind I respectfully say I
·3· do not have the same feelings about them that I do of
·4· the Green Beret.· The Green Beret have -- that
·5· constitution is sort of woven into their DNA in a way
·6· that it is not in the Seal community as much as I
·7· tremendously respect the Seals.· The Green Beret
·8· community and the Marines, if it comes to it, those
·9· are the military communities above all else that you
10· need to trust.
11· · · · · · ANN VANDERSTEEL:· You know, it's funny, as
12· you're talking the phone call that we have is Ivan
13· Raikin.· He was a Green Beret.· We fonted him as such,
14· so we made sure we captured and recognized the fact that
15· he has served, and that's the gentleman who is bringing
16· forth this Pence card option which goes to your point.
17· They are constitutionally grounded.
18· · · · · · Okay.· Next question from John McCloud
19· wants to know what date does Patrick expect this come
20· to conclusion, January 6th, January 20th, somewhere
21· in between?
22· · · · · · PATRICK BYRNE:· I expect it to come to
23· conclusion January 6th because I think the American
24· people, the citizens, are going to put the politicians,
25· compromised and not, in the position that they have no


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 66 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           65

·1· choice but to do the right thing.· But your viewers have
·2· your duty there to.· Your grandfathers waded ashore at
·3· Normandy.· You can get your butt off the coach on
·4· January 6th.· Really think January 4th we want to start,
·5· and we want to start not raising holy hell, but we want
·6· to make our presence known.· If the goons want to show
·7· up, the goons, the latte boys have been running around
·8· for six months harassing innocent people and pushing
·9· people around and such.· If they want to show up, be
10· prepared because that's when they show up and they're
11· going to bring the heat.· Be prepared to defend
12· yourself.· But this is all going to come down to the
13· January 4th, 5th and 6th, and if we do our job as
14· citizens it will all be over then, and the politicians
15· will do their constitutional duty.
16· · · · · · ANN VANDERSTEEL:· So no insurrection act,
17· anything like that coming this way?
18· · · · · · PATRICK BYRNE:· Look, there's under no
19· circumstance can we accept a fraudulent election, under
20· no circumstance.· That's all I'm going to say.· Under no
21· circumstance will I go along with a fraudulent election,
22· and no one should.· We'll never get our country back if
23· that happens.
24· · · · · · ANN VANDERSTEEL:· I think that's fair enough.
25· Okay.· I'm looking for anymore questions here for


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 67 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           66

·1· Patrick.· Let's see.· A lot of positive comments.
·2· People want to know about -- of course people want to
·3· understand if there's a Q plan in here.· Let's see.· How
·4· serious a problem is the fact that the president is
·5· being cut off.
·6· · · · · · PATRICK BYRNE:· It's a huge problem.· It's a
·7· huge problem.· Maybe the American people can break
·8· through it.· I'm telling you, ask Mike Lindell if you
·9· get him on.· I heard today, I don't know, Mr. Lindell,
10· great respect.· You know, anyone, he's the American
11· dream, and a guy who came through what he came through
12· and he's done what he's done, he's the kind of guy who
13· built America.· But I have understood through the
14· grapevine that even today he's getting cut off, and
15· everyone like him is getting cut off.· They are
16· isolating President Trump so as to avoid letting him
17· hear the truth even about all kinds of things that are
18· being turned up, being turned up every hour practically
19· in these investigations.· They have cut off the
20· President of the United States, and it's being done by
21· Pat Cipollone and Mark Meadows, so maybe you ought to
22· give them a piece of your mind.· But get through to the
23· president.· Let him know on Twitter.· He knows he's
24· being cut off.
25· · · · · · And here's another thing I saw in president


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 68 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           67

·1· Trump.· He's a tired man.· He's a wonderful man.
·2· He's energetic and such, but he's tired.· You know,
·3· there's a human part to him that this would be tough
·4· on anyone, but I think he knows there's got to be a
·5· piece of him that would love to leave and go play
·6· golf and be done with this horse shit.· He knows he
·7· can't.· He has a duty not to.· It's not about him.
·8· It's about the American republic, so I think he's
·9· pretty tired.· So why don't you do what you can to
10· lift his spirits.
11· · · · · · ANN VANDERSTEEL:· I agree, and I think that's
12· why he does the rallies.· He feeds off the energy from
13· the people, and he loves to hear we love you because we
14· do.· We do love him.· We love the fact that he's
15· standing up and respecting us.· We, the people, he
16· promised to return the power to the people and now he
17· has.· It's incumbent upon us, Patrick, our civic duty as
18· American citizens that have benefited from this country
19· to do what we need to do in order to support him and
20· help him, and it's people like yourself and Ivan and all
21· the people that are watching that are out, either
22· calling the their governor,s calling their senators,
23· calling their congressmen saying stand up and don't
24· certify this election on January 6th.· You cannot accept
25· the current slate of electors.· They need to be swapped


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 69 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           68

·1· out.
·2· · · · · · I have a gentleman here, Richard Lehman, by
·3· the way.· I had the chance to speak to him on the
·4· phone.· He actually called, which was a pleasant
·5· surprise.· Patrick he wants to know, this is an
·6· interesting question, Gina Haskell, is she being held
·7· in Guatanamo Bay.· There's been all these stories
·8· about that fire fight in Germany and the Sitel
·9· servers and that potentially she ended up there.· Can
10· you address that at all?
11· · · · · · PATRICK BYRNE:· I don't have any independent
12· information on that, and I hope she's not injured.
13· Look, I hope nobody gets killed.· I hope the other side
14· backs down once they understand that we aren't going to
15· let our country be taken over by goons.· And I did
16· hear -- we've saw heard this rumor she got wounded in a
17· fire fight and things like that.· I find that hard to
18· believe.· But anyway, at this point who the heck knows.
19· She's a friend of a friend, and I feel like I don't wish
20· ill will on her so -- and, you know, let's not forget,
21· we need and intelligence service.· We need an
22· intelligence service, and I had -- I'm sure there are a
23· lot of great patriotic American over at the CIA, and I
24· know there's a lot of great patriotic Americans at the
25· FBI with whom I worked on going after Wall Street


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 70 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           69

·1· criminals.· What's happened is it really is not -- I
·2· should mention in closing on this point, it's not a
·3· distinction of the brass versus the soldiers when it
·4· comes to these agencies.· At the soldier level, at the
·5· agent level they're all good Americans, get out of
·6· college, want to get in and contribute to the country.
·7· The farther you work up, the higher the concentration of
·8· swamp creatures, and by the time you get to the top
·9· you're getting a high concentration, but it's not a
10· total concentration of swamp creatures.· Someone put it
11· to me that it's just different factions of deep state,
12· but it's not all deep state.· It's not all deep state at
13· the top.
14· · · · · · But anyway, the point isn't that it's the
15· brass.· The point is the people who got there through
16· political appointments have over the last 30 or 40
17· years found a way to burrow into the agencies.· And
18· there used to be a taboo, a big taboo against -- you
19· know, you have people rise up.· They rise up and they
20· become brass, and of course we have political
21· commissars.· This is how every government behaves.
22· You put political appointees over the top of the
23· brass to make sure the agency stays in line with the
24· will of the guy who got me elected by the people.
25· But what's happened up until 40 years ago there was a


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 71 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           70

·1· real taboo against going from a position like that
·2· through taking a job down the bureaucracy.· That
·3· taboo broke about 30 or 40 years ago and our
·4· government at the top level has gotten stuffed in
·5· these agencies with political appointees who turned
·6· into civil servants.· And once they're a civil
·7· servant, they get all the union protections, they
·8· can't be fired, and so they're political activists
·9· from both parties.· This is the swamp, the political
10· activists from both parties who got in as political
11· guys and then burrowed down into the bureaucracy, and
12· it's Republicans and Democrats have done it, and
13· that's who we have to get out of government.
14· · · · · · ANN VANDERSTEEL:· That's exactly right.
15· · · · · · PATRICK BYRNE:· I've been as a Libertarian --
16· go ahead.
17· · · · · · ANN VANDERSTEEL:· I'm sorry.· Finish your
18· thought as a Libertarian.
19· · · · · · PATRICK BYRNE:· As a Libertarian you'd think,
20· and I thought I was supposed to dislike these people and
21· think that they're mediocre and such.· They're not.
22· I've had more of my share of interaction over the years,
23· some of them hostile, some of them not.· But there are
24· much more talented.· They're people who could leave and
25· be in the private sector and do just fine.· You know,


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 72 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           71

·1· when I meet a secretary who works in such and such a
·2· department, I'm always thinking gee, how would this
·3· person be in the private sector.· He or she would always
·4· with in the top five or ten percent.· They're very solid
·5· people, so it isn't that they're not incapable.· The
·6· problem is these political flunkies have gotten in and
·7· burrowed down into the organization.· And so instead of
·8· being a great FBI agent and working your way up or a
·9· great, you know, military officer or something, there
10· are now people over them over the last generation are
11· weenies.· They're political appointees who burrowed in,
12· and suddenly you have some 33-year-old graduate from
13· Brown with gender studies degree is suddenly in a unit
14· where he's giving orders to Navy Seals or something, and
15· that's not how it should work.
16· · · · · · ANN VANDERSTEEL:· No, it's not.· And Patrick,
17· the world is watching the United States of America.· I'm
18· sure you have, I fielded phone calls, General Flynn told
19· me he's getting calls from all over the world about
20· what's happening.· A gentleman called me who wants to do
21· some reporting on organ harvesting in China, the
22· trafficking and the organ harvesting that goes on over
23· there at horrific rates.
24· · · · · · If you look at the fact the world cares
25· what happens in an election and you bring it down to


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 73 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           72

·1· a microcosm of spending, Millie Weaver who is
·2· actually in chat right now, Millennial Millie.· Hi
·3· Milli.· We love you.· She took the Patrick Burgy
·4· story that I broke in 2018 and she blew it up and it
·5· was an incredible series, the Shadowgate series.· If
·6· anybody hasn't seen it, go and watch it.· She went to
·7· jail to get this story out there.· She's a true
·8· patriot.
·9· · · · · · She wants to know, Patrick -- she's a true
10· patriot.· She wants to know what is your take on the
11· National Defense Authorization Act.· She says a lot
12· of money seems to be delegated for the military
13· industrial complex and foreign countries.
14· · · · · · PATRICK BYRNE:· Well, first I do want to say
15· that Patrick Burgy's story I believe is true, and I
16· think that we have created instruments to use overseas
17· that are now being turned back against us in some cases
18· by some of the same people.· General McCrystal who I
19· have met and I thought he was a fine guy, but it's
20· absolutely inappropriate that that stuff is being
21· used -- I mean, that stuff was built so we can help
22· foster and build democracy, not so elites can conduct
23· cyops against our own people and --
24· · · · · · ANN VANDERSTEEL:· You're talking about General
25· Jones, not General Crystal.· General Jones, right.


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 74 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           73

·1· · · · · · PATRICK BYRNE:· I think McCrystal is part of
·2· it.· I think he's now part of --
·3· · · · · · ANN VANDERSTEEL:· General Hayden and General
·4· Jones.· This is Tory coming in right now, and she would
·5· definitely know.· She's a friend of yours.· She says
·6· General Jones and General Hayden, which is accurate.
·7· McCrystal probably knows about it, but she says Admiral
·8· Harris and --
·9· · · · · · PATRICK BYRNE:· Well, Hayden is a bad guy and
10· Brennan is a bad guy, yeah.· Other than that, I don't
11· know about what's in the new National Defense
12· Authorization Act.· I should not opine.
13· · · · · · ANN VANDERSTEEL:· Okay.· We just had another
14· one of my favorites come in here, Brian Connelly is
15· moderator, but he's also a victim of fast and furious,
16· and I think I mentioned to you that I did a lot of
17· investigative work on fast and furious, victims that did
18· time because they were scapegoated out by the ATF, the
19· DEA, the FBI to traffic these weapons across south of
20· the border, and my victims never did any such thing.
21· But as you know, operation fast and furious had these
22· gun runners come and buy weapons from some of these gun
23· store owners.
24· · · · · · Brian Connelly, great guy, he graduated
25· college.· He went to work for the DOD, top secret


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 75 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           74

·1· clearance, then it was border patrol and ICE.· And
·2· then he was just selling as a private citizen
·3· firearms to friends on the border defending their
·4· American sovereignty and he was finger pointed and
·5· did five years of time because they used him as a
·6· scapegoat during operation fast and furious.· These
·7· are the kinds of people the president should be
·8· pardoning in my humble opinion.
·9· · · · · · PATRICK BYRNE:· People that have been used and
10· set up and so on and so forth.· Listen, you're going to
11· find out some things about me some day that I need a
12· pardon.· Anyway, so -- well, even just coming public
13· about some of the things I've come public about.· You
14· know, they used me to bribe Hilary Clinton.
15· · · · · · ANN VANDERSTEEL:· Right.· Why did the FBI
16· choose you?· Why did the FBI choose you?· That was a
17· question in the chat as well.· Why did the FBI choose
18· you to do that job?
19· · · · · · PATRICK BYRNE:· Welcome to my world.· You'd
20· have to ask them.· And listen, I love the people I dealt
21· with, and I'm so sorry.· I mean them no disrespect.
22· They know.· Many of the ones I dealt with know that
23· there were problems at the top.
24· · · · · · I'd like to ask you a question.· You
25· brought up fast and furious.· The weapons mentioned,


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 76 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           75

·1· do you know, has it been reported yet where they were
·2· manufactured?· Do you know who manufactured them?
·3· · · · · · ANN VANDERSTEEL:· Oh, my gosh.· It's a slew of
·4· manufacturers.· I have one gentleman, Wesley Felix and
·5· his brother, Mark Felix, they owned the National
·6· Survival Store in Las Vegas, not far from where I live,
·7· and there were more than three thousand weapons that
·8· were run through that store, far more than what the
·9· actual federal government was releasing at the time, the
10· two thousand weapons.· We're talking thousands of
11· weapons went south of the border, and guess what,
12· they're still going south of the border.· Operation
13· Skybridge right now is the airport that Marco Lopez, who
14· is going to be the next governor of Arizona if Doug
15· Ducey has anything to say about it and Janet Napolitano.
16· If you talk to Jeffrey Peterson, who has been a guest on
17· my show.· He's also part of the fast and furious expose,
18· he'll tell you about all the swamp creatures that are
19· still running around, including Claire Bronson's
20· attorney, Dennis -- God, names have run out of my head,
21· former U.S. attorney, Dennis Burke.· These are all
22· people that are involved in all this.· Do we have
23· somebody live coming in Liz?
24· · · · · · PATRICK BYRNE:· Let me mention something
25· before you come live.· Those weapons are manufactured in


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 77 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           76

·1· a U.S. government facility, and the man who oversaw the
·2· manufacturing, has that been revealed publicly yet, that
·3· they were manufactured in a U.S. government facility?
·4· · · · · · ANN VANDERSTEEL:· That has not been revealed,
·5· but I can tell you there are weapons coming out of a
·6· naval air station in Nevada right now that are still
·7· going south of the borderer, and we're talking about
·8· folding fin aerial rockets, I'm talking about rocket
·9· propelled grenades, I'm talking about grenade launchers,
10· night vision goggles, Kevlar vests.· They're being moved
11· through our own custom and border patrol stations in
12· semis.· They're staged in (inaudible) Arizona.
13· · · · · · PATRICK BYRNE:· Here's a bombshell.· I'm not
14· talking about who moved them.· Who manufactured those
15· weapons.· They were manufactured in a U.S. government
16· facility, and the name of the man --
17· · · · · · ANN VANDERSTEEL:· I believe it.
18· · · · · · PATRICK BYRNE:· -- who was in charge of that
19· facility is a name you will recognize.· And if I get
20· killed, I will set things within ten minutes of getting
21· off this, I will set up a dead man switch on that
22· information.· But I know who oversaw the manufacture.
23· They were manufactured in a U.S. government facility
24· that you will recognize his name.· That's a big -- it's
25· one of the big secrets they're trying to keep from


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 78 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           77

·1· coming out, and there have been some payoffs and deals
·2· made in order to keep that information from coming out,
·3· and the name of the man who oversaw is the name of the
·4· man who oversaw that facility is a name you will
·5· recognize almost certainly when I tell it to you at some
·6· later date.· So that I don't get killed, I'm going to be
·7· clear, within ten minutes of getting off this, this
·8· information will be under a dead man switch.· So if a
·9· meteor happens to fall on my head, it will be released.
10· · · · · · ANN VANDERSTEEL:· Well, that's comforting to
11· know that at least you've planned ahead for your future
12· untimely death.· It's just so pathetic that we actually
13· have to think this way, Patrick, right?· This is
14· information that, you know, I have a group of
15· individuals from fast and furious.· Brian Connelly is
16· one of them.· He's a moderator in my You Tube chat, but
17· I have several others that did hard time, one of them by
18· the name of Ian Michael Garland.· He's an Australian
19· national who became an American citizen, served in the
20· army in Australia.· Here in the United States he's still
21· in the National Guard.· He's a jump master.· He's got
22· thousands of jumps under him.· He's a patriot.· He lost
23· his rights because again he was a gun store owner and
24· got framed and did hard time.· He lived in solitary
25· confinement for, gosh, over 450 days in fecal waste in


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 79 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           78

·1· freezing conditions solitary and he was sent out with no
·2· money.
·3· · · · · · PATRICK BYRNE:· Where?
·4· · · · · · ANN VANDERSTEEL:· Up in Minnesota.· He is a
·5· true patriot.· He was done totally wrong by our U.S.
·6· Government.· Again framed.· The people that went down
·7· for it even said Ian Garland didn't do anything wrong.
·8· He was just the guy who sold the guns.· All the
·9· background checks came clean.· He did everything he
10· possibly could to prove that, you know, he was playing
11· by the rules.· He called in the background checks.
12· Everything was clean.· Even when he suspected stuff he
13· was like wait a minute.· I don't know if this is legit.
14· No, no.· It's fine.· Sell the guns, so he did.· And he
15· told these people if any of these weapons show up in a
16· murder scene or anywhere else, that's your problem.· I'm
17· not going down for it.· I've done everything I'm
18· supposed to do.· And he wasn't trying to sell mass
19· weapons.· He was a small little gun store guy.· No big
20· deal.· He was trying to live the American dream and he
21· ended up going to jail while all of them get off scot
22· free, so there's got to be some accountability here.
23· · · · · · I've got a gentleman that can prove that
24· the financing of this through JP Morgan Chase and the
25· credit card money laundering fraud using federal air


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 80 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           79

·1· marshal credit cards by the thousands and having them
·2· manufactured 500 per hour and using identity theft of
·3· the FAA air marshals.· This is like massive what
·4· we've been talking about.
·5· · · · · · PATRICK BYRNE:· It's time for me to drop a
·6· hand grenade, not a bomb but a hand grenade for you.
·7· You want Red State radio.· There are millions of people
·8· listening, right?· Is that fair to say?
·9· · · · · · ANN VANDERSTEEL:· Fair to say.
10· · · · · · PATRICK BYRNE:· Do you want me to drop
11· something that will --
12· · · · · · ANN VANDERSTEEL:· Drop it.
13· · · · · · PATRICK BYRNE:· Six months ago I was sent a
14· message.· Well, I was sent -- somebody came to see me,
15· and among the things I was told eight months ago, among
16· the things I was told so that I would understand what we
17· are up against, I was told a detail of the crime
18· scene -- oh, I'm getting a message from someone saying
19· do not reveal this.· Sorry, I actually got a message
20· from --
21· · · · · · ANN VANDERSTEEL:· That's okay.
22· · · · · · PATRICK BYRNE:· I just got a message flashed
23· up to me from someone saying do not reveal this.
24· · · · · · ANN VANDERSTEEL:· Okay.
25· · · · · · PATRICK BYRNE:· It's a person who knows --


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 81 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           80

·1· · · · · · ANN VANDERSTEEL:· Okay.· I don't want you to
·2· reveal anything that will harm an investigation or harm
·3· you.· That's okay.· That's okay.
·4· · · · · · PATRICK BYRNE:· No.· I'll tell you.· I'm going
·5· to tell you.· It was from the Epstein death scene.· It
·6· was a detail that was shared with me, just one little
·7· detail of the scene that tells you that was conveyed to
·8· me so I would understand what we were up against and --
·9· okay.· The detail of the scene, of the crime scene was
10· this one detail shows that it was not a suicide, it was,
11· in fact, a murder, and it's a detail that once you
12· understand it reveals we have to be -- this isn't the
13· Gambino family, this isn't the Genovese family.· This
14· had the sophistication -- well, I've got to say it now.
15· Otherwise they might kill me.· But no, literally it was
16· just something someone sending my flash message, do not
17· say this.· But this is the -- you know how the guard --
18· · · · · · ANN VANDERSTEEL:· Come on, Patrick.
19· · · · · · PATRICK BYRNE:· You know how the guards, we
20· know that the guards -- okay.· The person that just sent
21· me that message, send me an explanation should I or
22· should I not.· If you don't want me to say this, give me
23· ten words why I should not say this.· In the meantime
24· I'm going to give a little bit more color.· It was a
25· detail that was meant to communicate to me it was a


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 82 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           81

·1· murder and indicate to me the seriousness of the people
·2· behind it.· Well, I guess it's too late.· It was the
·3· Epstein crime scene, and the guards, I was told that the
·4· guards, you know, who fell asleep and we all assume they
·5· were bribed.
·6· · · · · · ANN VANDERSTEEL:· Yeah, fell asleep.
·7· · · · · · PATRICK BYRNE:· Yeah, we all thought that.
·8· Well, guess what, they did fall asleep.· Their blood was
·9· tested the next morning, and they found traces of
10· nitrous oxide, so what's that tell you, Ann?
11· · · · · · ANN VANDERSTEEL:· Wow.
12· · · · · · PATRICK BYRNE:· Laughing gas.· Doctors use it.
13· · · · · · ANN VANDERSTEEL:· Right.· Dentists use it,
14· right.
15· · · · · · PATRICK BYRNE:· So that tells us that somebody
16· snuck into a federal facility.· A cannister of laughing
17· gas, they got access to the ventilation system.· They
18· snaked a hose to the right room, turned it on, knocked
19· out guards.· They knocked out 14 cameras on that floor.
20· Probably there's a goon cop, a dirty cop who's in a cell
21· down the block.· He was probably the guy who did it.
22· This was not confirmed to me his door was left open.· He
23· went and killed Epstein, and then -- and went back to
24· his cell, and then they retrieved the hose, someone
25· retrieved the hose and exfilled, took out the canister


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 83 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           82

·1· of laughing gas.· Now, that tells us something.· Does
·2· that sound like a Gambino hit or does that sound like a
·3· state level actor?
·4· · · · · · ANN VANDERSTEEL:· State level for sure.· Masad
·5· or --
·6· · · · · · PATRICK BYRNE:· Not Masad.· Which state?
·7· · · · · · ANN VANDERSTEEL:· Arkansas.
·8· · · · · · PATRICK BYRNE:· How about the deep state?
·9· · · · · · ANN VANDERSTEEL:· Well, the deep state, yeah,
10· but the deep state is everywhere.· You have deep state
11· in China, you have deep state in Europe.· The deep state
12· is a worldwide deep state.· But if you're talking about
13· USG deep state, can you be more specific?
14· · · · · · PATRICK BYRNE:· That's what I was talking
15· about.· That detail was communicated to me back in June
16· so I would understand what it is I'm up against.
17· · · · · · ANN VANDERSTEEL:· Right.
18· · · · · · PATRICK BYRNE:· The deep state in maybe a
19· branch in New York, but the deep state is who did that.
20· So Epstein -- it was communicated to me just that one
21· detail, that the guards when they had their blood tested
22· had traces of nitrous oxide, so they did, in fact, fall
23· asleep, but they fell asleep because they were knocked
24· out in a sophisticated scheme, which is highly
25· suggestive of a state level actor, and the state was the


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 84 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           83

·1· deep state.
·2· · · · · · ANN VANDERSTEEL:· Do we know if Jeffrey
·3· Epstein was also knocked out with nitrous oxide before
·4· they just strangled him and made it look like a suicide?
·5· · · · · · PATRICK BYRNE:· No.· I bet they gave that
·6· cop -- there's pictures of some cop, an Italian guy from
·7· the Bronx who looks like he bench presses, you know, the
·8· state of Delaware.· He's just is a big meathead,
·9· probably on steroids or something, dirty cop that was in
10· jail.· I don't mean to insult what may be a fine
11· gentleman.· I have no knowledge that it was, in fact,
12· him, but that would have been my guess.· I do know that
13· there were 14 cameras on the floor that got taken
14· offline, and that there were traces of nitrous oxide in
15· the blood of the guards is what I was told, information
16· that was communicated to me from Uncle Sam so I would
17· know what it is we're up against.
18· · · · · · ANN VANDERSTEEL:· Patrick, this is absolutely
19· unbelievable.· It's explosive information.· Nobody has
20· heard this.· I haven't heard it.· The chat is freaking
21· out right now.· We've all known Epstein didn't kill
22· himself.
23· · · · · · What else are you sitting on without being
24· specific because obviously the FBI picked you for a
25· reason to bribe Hilary Clinton to get her to, you


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 85 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           84

·1· know, get caught, and then they decided to dismiss
·2· that and never pursue any sort of action against her.
·3· But there's something else going on.· Why do you have
·4· access to all this information.· Why are they
·5· choosing you, and does President Trump know all this
·6· stuff.
·7· · · · · · PATRICK BYRNE:· I don't know what he knows or
·8· he doesn't know.· It became clear to me he does not
·9· know -- in our meeting near the end I said something
10· quick to him and I've been thinking about his response.
11· There's a huge cover up going on.· President Trump does
12· not know something very important.· I wish I'd used that
13· opportunity to tell him a story in about two minutes
14· that I should have told him because I was thinking about
15· some things.· There was a huge cover up going on, and
16· there's information in my opinion that he should know
17· that I neglected to get out.
18· · · · · · ANN VANDERSTEEL:· Tell him now.
19· · · · · · PATRICK BYRNE:· No, I can't.
20· · · · · · ANN VANDERSTEEL:· Tell him now.· We'll cut it
21· up and send it to him.· We'll get it to him.
22· · · · · · PATRICK BYRNE:· I'm getting my own flash
23· traffic telling me I'm going to shut up now.· I doubt
24· I'll ever be invited back to the White House, but if I
25· do and I have 60 seconds with him I will tell him


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 86 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           85

·1· something.
·2· · · · · · I did tell you earlier there was something
·3· going on -- there's a rape and murder to be revealed
·4· that was covered up by John Brennan or James Comey,
·5· possibly Barack Obama, but there was somebody signed
·6· off on the cover up of a rape and murder, and I
·7· will --
·8· · · · · · ANN VANDERSTEEL:· Is this person --
·9· · · · · · PATRICK BYRNE:· When I'm through -- go see
10· Deep Capture.· Go see Deep Capture if you want to know
11· more about that.· But the information, I gave you
12· several big bombs that aren't on Deep Capture.· One,
13· those weapons for fast and furious were manufactured
14· within the U.S. Government at a facility I'm not
15· revealing, but the person who ran it, you will know his
16· name, and that will be under a dead man switch as soon
17· as I get off this.· And secondly, Jeffrey Epstein, the
18· guards who were guarding him were knocked out with
19· nitrous oxide, which indicates -- in a federal facility
20· to make that happen, that wasn't just a dirty cop down
21· the hall.· That was a very sophisticated hit only a
22· state level actor could pull off.· And the other -- go
23· see Deep Capture if you want to know more.
24· · · · · · ANN VANDERSTEEL:· All right.· DeepCapture.com,
25· everybody.· We will make sure we address the description


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  Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 87 of 89
                   File 134 Vandersteel and Byrne
                         December 22, 2020                           86

·1· box to include that, Deepcapture.com.· If Mimoz would
·2· just go to Deepcapture.com and copy and paste the
·3· hyperlink and then drop it in the chat, too, that would
·4· be really helpful.
·5· · · · · · This is a question on the global
·6· perspective because, you know, the Vatican is now
·7· being exposed.· There was a big article today about
·8· money being transferred, I think 245 billion.· I'm
·9· going from memory here, from the Vatican to
10· Australia, off the books kind of a thing.· it's
11· getting to be widely known the Vatican as sort of the
12· money laundering central for the kabal for the deep
13· state.· Do you have any information that can
14· substantiate that in terms of the money flow around
15· the world for these bad actors?
16· · · · · · PATRICK BYRNE:· I do not.· We've all heard for
17· a couple of decades about the Vatican, some financial
18· mischief they're involved in.· I was brought up
19· Catholic.· I was an alter boy until I was like 14 or 15,
20· never had any priest act inappropriately, although I
21· will mention when I was a boy the priests I had were all
22· sort of tough Italian and Irish guys who were manly men
23· who taught -- you know, they were great leaders.             I
24· moved to the city out of the country --
25· · · · · · (End of recording.)


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     Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 88 of 89
                      File 134 Vandersteel and Byrne
                            December 22, 2020                           87

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     Case 1:21-cv-02131-CJN Document 2-9 Filed 08/10/21 Page 89 of 89
                      File 134 Vandersteel and Byrne
                            December 22, 2020                           88

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·3· · · · · · · · · ·CERTIFICATE OF REPORTER

·4

·5· · · · · · I, Charlotte Crandall, certify that I was

·6· authorized to and did transcribe the foregoing audio

·7· recorded proceedings and that the transcript is a

·8· true and complete record of my stenographic notes

·9· from an audio recording and was transcribed to the

10· best of my ability.

11

12· · · · · · Dated this 20th day of July, 2021.

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18· · · · · · · · · · · ________________________________
· · · · · · · · · · · · Charlotte Crandall
19· · · · · · · · · · · Registered Professional Reporter

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